          Case: 11-1009         Document: 1-3         Page: 1      Filed: 10/08/2010
                      u.s.      -;TRICT COURT, OFFICE OF THl                uERK
                                         211 W. Ferguson
                                         Tyler, TX 75702

 U. S. Court of Appeals Federal. Circuit                        Date: October 1, 2010
 ~~~ 717 Madison Place,                             NW
 N~~~Washington DC 20439


         Case# 6: 07cv511
                                                                  2011-1009
                                                USCA Case#_ _ _ _ _ _ _ ____:_ __

         Style   SOVERAIN SOFTWARE LLC v.                CDW CORPORATION,            ET AL


 In connection with this appeal, the following documents are transmitted. Please
 acknowledge receipt on the enclosed copy of this letter.

 ¢9 Certified copy of the Notice of Appeal (Dkt # 4 4 5        ) and docket entries.
 () Certified copy of the Notice ofinterlocutory Appeal (Dkt #                     and docket entries.
 ( ) Certified copy of notice of cross-appeal (Dkt #                    and docket entries.
 () 2255 (MoNacate)- Notice of Appeal (Dkt #                  ) and civil and criminal docket entries.
 ()Record on appeal consisting of _ _ vol(s) ofthe record _ _ _ _ _ _ _ _ _ _ __
     -~------------- ___ transcript vol(s), ___ video tape(s),
     _ _ _ audio tape(s) and ECRO notes,                 sealed envelope(s),           container(s) of
     state court records,           container(s) of exhibits.
() Supplemental record consisting of __ vol(s) ofthe r e c o r d - - - - - - - - - - - ·,
     _ _ transcript vol(s),           video ta.pe(s),            audio tape(s) and ECRO notes,
     _ _ sealed env(s),            container(s) of state court records,          container(s) of exhibits.
() Case consolidated with                                       . Docket entries attached.
() Certified copy of CJA-20/0rder appointing counsel.
()Public Defender appointed.
()Copy ofCJA-30 appointing counsel in death penalty case.
()Other ___________________________________

In regards to the notice of appeal, the following additional information is furnishedY; ': ·
                                                                                                       J


IX) The Court of Appeals docket fee XX HAS __ HAS NOT been paid.
( ) A motion to proceed IFP on appeal has been filed in District Court.
() IFP motion has been--. granted __ denied.
(X) Judge entering final judgment or order on appeal:
    District Judge Leonard Davis                 Magistrate Judge
                                                                     ---------------------
( ) Court rptr/ECRO assigned to case: _Ron Mason, _Susan Simmons,_ Shea Sloan.
    _Vicki Baker,_ Kathy Riley,_ Libby Smith,_ Ernie Ryer, _Terri Nickelson,
    _Linda Pritchard, __ Mechelle Morris, __Other______________
( ) This case was decided without a hearing/trial; therefore, there will be no transcript.
()State court papers filed in District Court.
( ) Other appe file :                                                      ' '·
               Case 6:07-cv-00511-LED
                 Case: 11-1009         Document
                                  Document: 1-3 445
                                                Page: Filed 09/10/10
                                                      2 Filed:        Page 1 of 3
                                                                 10/08/2010



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

   SOVERAIN SOFTWARE LLC,                          )

                             Plaintiff,
                                                   )
                                                   )
                                                               2011-1009
                                                   )
   vs.
                                                   )
   CDW CORPORATION, NEWEGG                         )     Civil Action No. 6:07-CV-00511-LED
   INC., REDCATS USA, INC.,                        )
   SYSTEMAX INC., ZAPPOS.COM,                      )
   INC., REDCATS USA, L.P., THE
   SPORTSMAN'S GUIDE, INC., and
                                                   )
                                                   )
                                                                                         RECEIVED
   TIGERDIRECT, INC.,
                                                   )                                        .I

                              Defendants.          )
                                                   )                                 Un1ted StatEs Court of Appeals
                                                                                        For The Federal Circu 1t
                                            NOTICE OF APPEAL

              Notice is hereby given that Defendant Newegg, Inc. appeals to the United States Court of

 Appeals for the Federal Circuit from the final judgment entered in this action on August 11,2010

  (Dkt. #435).

                                                          Respectfully submitted,

 Dated: September 10, 2010                        By:     /s/ Kent E. Baldauf, Jr.
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                                                      09/10/10 Page 3 of 3




                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being hereby served with a copy of this document via the
Court's CM/ECF system per Local Rule CV-5(a)(3) on September 10, 2010, or will be served
via electronic mail. All other counsel of record will be served via facsimile or first class mail.

                                                            Is/   Kent E. Baldauf, Jr.
                                                                  Kent E. Baldauf, Jr.




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: ___ ;\)'-C- -.._
                                        IN THE UNITED STATES DISTRICT COURT
                                         FOR THE EASTERN DISTRICT OF TEXAS
                                                   TYLER DIVISION

                SOVERAIN SOFTWARE LLC,                              §

                          Plaintiff,
                                                                    §
                                                                    §
                                                                             2011-1009
                                                                    §
                vs.                                                 §        CASE NO. 6:07 CV 511
                                                                    §        PATENT CASE
                NEWEGG INC.,                                        §
                                                                    §
                          Defendant.                                §

                                                       FINAL JUDGMENT

                      Pursuant to Rule 58 of the Federal Rules of Civil Procedure, consistent with the Court's

              contemporaneous Memorandum Opinion and Order, and in consideration of the jury verdict

              delivered on April 30, 2010 and the entirety of the record available to this Court, the Court

              ORDERS AND ENTERS FINAL JUDGMENT as follows:

                      •         Defendant Newegg Inc. ("Newegg") is found to have unlawfully infringed U.S.

                                Patent Nos. 5,715,314 (the '"314 patent"), 5,909,492 (the '"492 patent"), and

                                7,272,639 (the "'639 patent") (collectively, "patents-in-suit").

                      •         The patents-in-suit are not invalid and are enforceable.

                      •         The Court awards damages to Soverain Software LLC ("Soverain") for Newegg's

                                infringement of the '314 and '492 patents in the amount of$2,500,000.

                      •         Soverain is further awarded a new trial on damages for N ewegg' s infringement ofthe

                                '639 patent, to be held after all appeals have been exhausted.

                      •         Soverain is further awarded post-verdict damages of $2,900 per day from May 1,

                                2010 until the date ofthis Final Judgment.
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    Case 6:0711-1009    Document:
             -cv-00511-LED        1-3 435
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                                                            Page 2 of 2




•        Soverain is further awarded prejudgment interest on the actual damages found by the

        jury calculated at the prime rate as of the date of this Final Judgment compounded

         monthly through July31, 2010 andcompoundeddailyforthe month of August2010.

•        Soverain is awarded its prejudgment Costs of Court.

•        Soverain is entitled to post-judgment interest as provided for by 28 U.S.C. § 1961 for

         any time period between the entry of this Final Judgment and the date upon which

         Soverain receives payment from Newegg as ordered herein.

•        For the reasons stated in the Court's contemporaneous Memorandum Opinion and

         Order, Newegg is hereby ORDERED, for the remaining life of the '314 and '492

         patents, to pay Soverain an ongoing royalty of $0.15 per infringing transaction.

•        All relief not granted in this Final Judgment is DENIED.

•        All pending motions not previously resolved are DENIED.



           So ORDERED and SIGNED this 11th day of August, 2010.




                                   LEONARD DAVIS
                                   UNITED STATES DISTRICT JUDGE




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     /
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                             11-1009Court:txed
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               APPEAL, PATENT, PATENT/TRADEMARK, PROTECTIVE-ORDER

                             U.S. District Court [LIVE]
                          Eastern District of TEXAS (Tyler)
                   CIVIL DOCKET FOR CASE#: 6:07-cv-00511-LED
                                  Internal Use Only
                                                                              2011-1009
         Soverain Software LLC v. CDW Corporation Date Filed: 11/02/2007
         et al                                    Date Terminated: 08/11/2010
         Assigned to: Judge Leonard Davis         Jury Demand: Both
         Cause: 35:271 Patent Infringement        Nature of Suit: 830 Patent
                                                  Jurisdiction: Federal Question
          Mediator
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                                                     (See above for address)
                                                     TERMINATED: 09/1912008
                                                     ATTORNEY TO BE NOTICED
Defendant
Redcats USA, Inc.                represented by Frank W Leak , J r
TERMINATED:                                     Kilpatrick Stockton LLP NC
07107/2008                                      1001 W Fourth Street
                                                Winston-Salem, NC 27101
                                                336/607-7363
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                                                     Michael E Jones


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             U.S. District
                   11-1009 Court:txed
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                                                    Potter Minton PC
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Defendant
Systemax Inc.                    represented by Barry J Schindler
TERMINATED:                                     Greenberg Traurig- NJ
05/26/2009                                      200 Park Ave
                                                Florham Park, NJ 07932
                                                973/360-7900
                                                Fax: 973/301-8410
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CMIECF LIVE- Case:
             U.S. District
                   11-1009 Court:txed
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                                                     Douglas Ray McSwane, Jr
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CM/ECF LIVE- Case:
             U.S. District
                   11-1009 Court:txed
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                                                      Michael A Nicodema
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                                                      Email: nicodemam@gtlaw .com
                                                      ATTORNEY TO BE NOTICED
Defendant
Zappos.Com, Inc.                  represented by Eric Hugh Findlay
TERMINATED:                                      (See above for address)
1210212008                                       LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                      Theodore Herbold
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                                                      Email: ttherhold@townsend.com
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                                                      Charles Edward Juister
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                                                      Julianne Hartzell
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Matthew C Nielsen
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED


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             U.S. District
                   11-1009 Court:txed
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                                                    Scott A Sanderson
                                                    (See above for address)
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                                                    Sidney Calvin Capshaw, III
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                                                    Thomas L Duston
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                                                    ATTORNEY TO BE NOTICED
Defendant
Tiger Direct Inc                represented by Mary-Olga Lovett
TERMINATED:                                    (See above for address)
0512612009                                     LEAD ATTORNEY

                                                    Douglas Ray McSwane , Jr
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED
Defendant
The Sportsman's                 represented by Frank W Leak , J r
Guide Inc                                      (See above for address)
TERMINATED:
0710712008                                          Michael E Jones
                                                    (See above for address)

                                                    Steven Gardner
                                                    (See above for address)


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             U.S. District
                   11-1009 Court:txed
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                                                      Tonya RDeem
                                                      (See above for address)

                                                      William H Boice
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                                                      bboice@kilpatrickstockton.com
                                                      PROHACVICE
 Defendant
 Redcats USA LP                   represented by Frank W Leak , J r
 TERMINATED:                                     (See above for address)
 0710712008
                                                      Michael E Jones
                                                      (See above for address)

                                                      Steven Gardner
                                                      (See above for address)

                                                      Tonya RDeem
                                                      (See above for address)

                                                      William H Boice
                                                      (See above for address)
                                                      PROHACVICE
 Counter Claimant
 Tiger Direct Inc                 represented by Mary-Olga Lovett
 TERMINATED:                                     (See above for address)
 05126/2009                                      LEAD ATTORNEY




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             U.S. District
                   11-1009 Court:txed
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V.
Counter Defendant
Soverain Software                represented by Debra R Smith
LLC                                             (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                     Jennifer Seraphine
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Kenneth Robert Adamo
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Amanda Aline Abraham
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Barry R Satine
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Brendan Clay Roth
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Carl R Roth
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Mark Christopher Howland
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED


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            U.S. District
                  11-1009 Court:txed
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                                                     Michael Charles Smith
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Thomas L Giannetti
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
Counter Claimant
Systemax Inc.                    represented by Barry J Schindler
TERMINATED:                                     (See above for address)
0512612009                                      ATTORNEY TO BE NOTICED

                                                     Eric William Buether
                                                     (See above for address)
                                                     TERMINATED: 01/03/2008

                                                     Gaston Kroub
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Mary-Olga Lovett
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Michael A Nicodema
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

 v.
Counter Defendant
Soverain Software                represented by Debra R Smith
LLC                                             (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED



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             U.S. District
                   11-1009 Court:txed
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                                                      Jennifer Seraphine
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kenneth Robert Adamo
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Amanda Aline Abraham
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Barry R Satine
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Brendan Clay Roth
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Carl RRoth
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Mark Christopher Howland
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Thomas L Giannetti
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED
Counter Claimant
CDW Corporation                   represented by Charles Edward Juister
TERMINATED:                                      (See above for address)


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             U.S. District
                   11-1009 Court:txed
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 03/16/2009                                            LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Scott A Sanderson
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Thomas L Duston
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Eric Hugh Findlay
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED
 Counter Claimant
 Newegg Inc.                      represented by Eric Hugh Findlay
                                                 (See above for address)
                                                 TERMINATED: 09/19/2008
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                       Daniel H Brean
                                                       (See above for address)
                                                       PROHACVICE
                                                       ATTORNEY TO BE NOTICED

                                                       Herbert A Yarbrough , III
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED
Counter Claimant
Zappos.Com, Inc.                  represented by Eric Hugh Findlay
TERMINATED:                                      (See above for address)
12/02/2008                                       LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED


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                   11-1009 Court:txed
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                                                      Theodore Herbold
                                                      (See above for address)
                                                      TERMINATED: 01/03/2008
                                                      LEAD ATTORNEY

                                                      Sidney Calvin Capshaw , III
                                                      (See above for address)
                                                      TERMINATED: 01/02/2008

 v.
 Counter Defendant
 Soverain Software                represented by Debra R Smith
 LLC                                             (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                      Jennifer Seraphine
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kenneth Robert Adamo
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Amanda Aline Abraham
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Barry R Satine
                                                      (See above for address)
                                                      PROHACVICE
                                                      ATTORNEY TO BE NOTICED




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             U.S. District
                   11-1009 Court:txed
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                                                      Brendan Clay Roth
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Carl R Roth
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Mark Christopher Howland
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Thomas L Giannetti
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED
 Counter Claimant
 The Sportsman's                  represented by Frank W Leak , J r
 Guide Inc                                       (See above for address)
 TERMINATED:
 07/07/2008                                           Michael E Jones
                                                      (See above for address)

                                                      Steven Gardner
                                                      (See above for address)

                                                      Tonya RDeem
                                                      (See above for address)
 Counter Claimant
 Redcats USA LP                   represented by Frank W Leak, Jr
 TERMINATED:                                     (See above for address)
 07/07/2008
                                                      Michael E Jones
                                                      (See above for address)

                                                      Steven Gardner
                                                      (See above for address)


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CM/ECF LIVE- Case:
             U.S. District
                   11-1009 Court:txed
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                                                      Tonya RDeem
                                                      (See above for address)

v.
 Counter Defendant
 Soverain Software                represented by Debra R Smith
 LLC                                             (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                      Jennifer Seraphine
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kenneth Robert Adamo
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                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Amanda Aline Abraham
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Barry R Satine
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                                                      PROHACVICE
                                                      ATTORNEY TO BE NOTICED

                                                      Brendan Clay Roth
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Carl R Roth
                                                      (See above for address)



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             U.S. District
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                                                      ATTORNEY TO BE NOTICED

                                                      Mark Christopher Howland
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                                                      ATTORNEY TO BE NOTICED

                                                      Thomas L Giannetti
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED
Counter Claimant
Zappos.Com, Inc.                  represented by Eric Hugh Findlay
TERMINATED:                                      (See above for address)
1210212008                                       LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                      Theodore Herbold
                                                      (See above for address)
                                                      TERMINATED: 0110312008
                                                      LEAD ATTORNEY

                                                      Charles Edward Juister
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Julianne Hartzell
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Matthew C Nielsen
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott A Sanderson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Sidney Calvin Capshaw , III


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                   11-1009 Court:txed
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                                                      (See above for address)
                                                      TERMINATED: 0110212008

                                                      Thomas L Duston
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

v.
Counter Defendant
Soverain Software                 represented by Debra R Smith
LLC                                              (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                      Jennifer Seraphine
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                                                      LEAD ATTORNEY
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                                                      Kenneth Robert Adamo
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                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Amanda Aline Abraham
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Andrey Belenky
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Barry R Satine
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED



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             U.S. District
                   11-1009 Court:txed
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                                                     Brendan Clay Roth
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Carl RRoth
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Clark Craddock
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                                                     ATTORNEY TO BE NOTICED

                                                     Kenneth Canfield
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                                                     ATTORNEY TO BE NOTICED

                                                     Lynda Q Nguyen
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                                                     ATTORNEY TO BE NOTICED

                                                     Mark Christopher Howland
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Michael Charles Smith
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Stela Cristina Tipi
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Thomas L Giannetti
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED



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CM/ECF LIVE -U.S.
             Case:District
                   11-1009 Court:txed
                                 Document: 1-3        Page: 33     Filed: 10/08/2010Page 27 of 116



Counter Claimant
Tiger Direct Inc                 represented by Mary-Olga Lovett
TERMINATED:                                     (See above for address)
0512612009                                      LEAD ATTORNEY

 V.
Counter Defendant
Soverain Software                represented by Debra R Smith
LLC                                             (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                    Jennifer Seraphine
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kenneth Robert Adamo
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Amanda Aline Abraham
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Andrey Belenky
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Barry R Satine
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                     Brendan Clay Roth


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CM/ECF LIVE- Case:
             U.S. District
                   11-1009 Court:txed
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                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Carl R Roth
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Clark Craddock
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Kenneth Canfield
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Lynda Q Nguyen
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Mark Christopher Howland
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Michael Charles Smith
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Stela Cristina Tipi
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Thomas L Giannetti
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
Counter Claimant
 Systemax Inc.                   represented by Barry J Schindler
 TERMINATED:                                    (See above for address)


https://ecf.txed.circ5.dcn/cgi-bin/DktRpt.pl?561 04027993243-L_942_ 0-1                  10/112010
CM/ECF LIVE- Case:
             U.S. District
                   11-1009 Court:txed
                                 Document: 1-3        Page: 35    Filed: 10/08/2010Page 29 of 116


 05126/2009                                         ATTORNEY TO BE NOTICED

                                                    Eric William Buether
                                                    (See above for address)
                                                    TERMINATED: 01/03/2008

                                                    Gaston Kroub
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Mary-Olga Lovett
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Michael A Nicodema
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

v.
Counter Defendant
Systemax Inc.                   represented by Barry J Schindler
TERMINATED:                                    (See above for address)
0512612009                                     ATTORNEY TO BE NOTICED

                                                    Eric William Buether
                                                    (See above for address)
                                                    TERMINATED: 01/03/2008

                                                    Gaston Kroub
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Mary-Olga Lovett
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED




https://ecf.txed.circ5.dcn/cgi-bin/DktRpt.pl?56104027993243-L 942 0-1                  10/1/2010
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             U.S. District
                   11-1009 Court:txed
                                 Document: 1-3          Page: 36     Filed: 10/08/2010Page 30 of 116


                                                      Michael A Nicodema
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED
 Counter Claimant
 CDW Corporation
 TERMINATED:
 0311612009
 Counter Claimant
 Newegg Inc.                      represented by Daniel H Brean
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED
 Counter Claimant
 Zappos.Com, Inc.
 TERMINATED:
 12102/2008

v.
Counter Defendant
Soverain Software                 represented by Debra R Smith
LLC                                              (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                      Jennifer Seraphine
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kenneth Robert Adamo
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED



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                                                    Amanda Aline Abraham
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Barry R Satine
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Brendan Clay Roth
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    CariRRoth
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Mark Christopher Howland
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Michael Charles Smith
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Thomas L Giannetti
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED


 Date
                       #        Docket Text
 Filed
 11102/2007                 1 COMPLAINT against CDW Corporation, Newegg
                              Inc., Redcats USA, Inc., Systemax Inc.,
                              Zappos.Com, Inc. (Filing fee $ 350.00 pd. 6-1-
                              11611) , filed by Soverain Software LLC.
                              (Attachments: # 1 Exhibit A# 2 Exhibit B# 3



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                                 Exhibit C# 4 Exhibit D# 5 Exhibit E# 6 Civil
                                 Cover Sheet)(mjc) (Entered: 11/06/2007)
 11102/2007                  2 DEMAND for Trial by Jury by Soverain Software
                               LLC. (mjc) (Entered: 11106/2007)
 11102/2007                  3 Report on the Filing or Determination of an Action
                               Regarding A Patent or Trademark. (Copy
                               forwarded to the Director of the U.S. Patent and
                               Trademark Office.) (mjc) (Entered: 11106/2007)
 11/02/2007                  4 CORPORATE DISCLOSURE STATEMENT filed
                               by Soverain Software LLC identifying no
                               Corporate Parent. (mjc) (Entered: 11106/2007)
 11/02/2007                  5 E-GOV SEALED SUMMONS Issued as to CDW
                               Corporation, Newegg Inc., Redcats USA, Inc.,
                               Systemax Inc., Zappos.Com, Inc. (Attachments: #
                               l CDW Corporation/Illinois Corp. Service Co.
                               Summons# 2 Newegg, Inc. Summons# 3 Newegg,
                               Inc. via Corp. Service Co. Summons# 4
                               Zappos.com, Inc. Summons# 5 Zappos.com, Inc.
                               via Incorporating Svs., Ltd. Summons# 6
                               Systemax, Inc. via Corp. Service Co. Summons# 1
                               Systemax Inc., Summons# 8 Redcats USA, Inc.
                               Summons# 9 Redcats USA, Inc. via The Corp.
                               Trust Co. Summons)(mjc) (Entered: 11106/2007)
 11119/2007                  6 Return of Service Executed as to Zappos.Com, Inc.
                               on 1117/2007, answer due: 11127/2007. (mjc)
                               (Entered: 11119/2007)
 11119/2007                  7 Return of Service Executed as to Systemax Inc. on
                               1116/2007, answer due: 11126/2007. (mjc)
                               (Entered: 11119/2007)
 11119/2007                  8 Return of Service Executed as to Redcats USA,
                               Inc. on 1116/2007, answer due: 11126/2007. (mjc)
                               (Entered: 11119/2007)
 11119/2007                  9 Return of Service Executed as to N ewegg Inc. on



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                                                          1116/2007, answer due: 11126/2007. (mjc)
                                                          (Entered: 11/19/2007)
    11119/2007                               10 Return of Service Executed as to CDW
                                                Corporation on 1116/2007, answer due:
                                                11126/2007. (mjc) (Entered: 11119/2007)
    1112112007                               11 MOTION for Extension of Time to File Answer re
                                                1 Complaint, by Systemax Inc .. (Attachments: # 1
                                                Text of Proposed Order)(Buether, Eric) (Entered:
                                                1112112007)
    1112112007                               12 MOTION for Extension of Time to File Answer re
                                             -

                                                1 Complaint, [Unopposed] by Redcats USA, Inc ..
                                                (Attachments: # 1 Text of Proposed Order)(Jones,
                                                Michael) (Entered: 1112112007)
    11123/2007                               13 AMENDED COMPLAINT FOR PATENT
                                                INFRINGEMENT against all defendants, filed by
                                                Soverain Software LLC. (Attachments: # 1 Exhibit
                                                Exhibit A# 2 Exhibit Exhibit B# 3 Exhibit Exhibit
                                                C# 4 Exhibit Exhibit D# 5 Exhibit Exhibit E)
                                                (Adamo, Kenneth) Modified on 11127/2007
                                                (rvw, ). (SEE DOC# 22 FOR CERT OF SVC)
                                                (Entered: 11123/2007)
    11123/2007                               14 NOTICE of Attorney Appearance by Mark
                                                Christopher Howland on behalf of Soverain
                                                Software LLC (Howland, Mark) (Entered:
                                                11123/2007)
    11123/2007                              15_ Notice of Filing of Patent/Trademark Form (AO
                                                          120). AO 120 mailed to the Director of the U.S.
                                                          Patent and Trademark Office. (Howland, Mark)
                                                          (Entered: 11123/2007)
    11/26/2007                               16 NOTICE of Attorney Appearance by Thomas L
                                                Giannetti on behalf of Soverain Software LLC
                                                (Giannetti, Thomas) (Entered: 11/26/2007)
    11/26/2007                                            (Court only) ***Party Tiger Direct Inc, and The



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                                  Sportsman's Guide Inc added. (rvw,) (Entered:
                                  11/26/2007)
 11126/2007                 17 E-GOV SEALED SUMMONS Issued as to Tiger
                               Direct Inc, The Sportsman's Guide Inc, Redcats
                               USA, Inc .. (rvw,) (Entered: 11126/2007)
 11126/2007                 18 ORDER granting 11 Motion for Extension of Time
                               to Answer re 11 MOTION for Extension of Time
                               to File Answer re 1 Complaint. Systemax Inc.'s
                               answer is due by 12/3112007. Signed by Judge
                               Leonard Davis on 11/26/07. (mjc) (Entered:
                               11126/2007)
 11126/2007                       Set/Reset Deadlines: Systemax Inc. answer due
                                  12/3112007. (mjc) (Entered: 11126/2007)
 11126/2007                12 ORDER granting 12 Motion for Extension of Time
                                 to Answer re 12 MOTION for Extension of Time
                                 to File Answer re 1 Complaint, [Unopposed}.
                                 Redcats USA, Inc.'s answer is due by 12/31/2007.
                                 Signed by Judge Leonard Davis on 11126/07. (mjc)
                                 (Entered: 11126/2007)
 11126/2007                      Set/Reset Deadlines: Redcats USA, Inc. answer
                                 due 12/3112007. (mjc) (Entered: 11126/2007)
 11126/2007                 20 NOTICE of Attorney Appearance by Herbert A
                               Yarbrough, III on behalf ofNewegg Inc.
                               (Yarbrough, Herbert) (Entered: 11126/2007)
 11126/2007                 21 MOTION for Extension of Time to File Answer
                               Defendant, Newegg Inc.'s, Unopposed Motion for
                               Extension of Time in Which to Answer or
                               Otherwise Respond to Plaintiffs Complaint by
                               Newegg Inc .. (Attachments: # 1 Text of Proposed
                               Order)(Yarbrough, Herbert) (Entered: 11/26/2007)
 11126/2007                -22 NOTICE by Soverain Software LLC ofService
                               (Howland, Mark) (Entered: 11126/2007)
 11127/2007                 23 ORDER granting 21 Motion for Extension of Time


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                                 to Answer re 21 MOTION for Extension of Time
                                 to File Answer Defendant, Newegg Inc.'s,
                                 Unopposed Motion for Extension of Time in Which
                                 to Answer or Otherwise Respond to Plaintiffs
                                 Complaint. Newegg's answer is due by 12/3112007.
                                 Signed by Judge Leonard Davis on 11127/07.
                                 (mjc ) (Entered: 11127/2007)
 11127/2007                      Set/Reset Deadlines: Newegg Inc. answer due
                                 12/3112007. (mjc) (Entered: 11127/2007)
 11128/2007                24 APPLICATION to Appear Pro Hac Vice by
                              Attorney Michael A Nicodema for Systemax Inc.
                              Fee pd., 6-1-11903. Approved 11129/07. (mjc)
                              (Entered: 11129/2007)
 11128/2007                 25 APPLICATION to Appear Pro Hac Vice by
                               Attorney Barry J Schindler for System ax Inc. Fee
                               pd., 6-1-11903. Approved 11129/07. (mjc)
                               (Entered: 11129/2007)
 11128/2007                 26 APPLICATION to Appear Pro Hac Vice by
                               Attorney Gaston Kroub for Systemax Inc. Fee pd.,
                               6-1-11903. Approved 11129/07. (mjc) (Entered:
                               11129/2007)
 12/03/2007                27 APPLICATION to Appear Pro Hac Vice by
                              Attorney Barry R Satine for Soverain Software
                              LLC. Fee pd., 6-1-11943. Approved 12/4/07.
                              (mjc) (Entered: 12/04/2007)
 12/06/2007                 28 Consent MOTION for Extension of Time to File
                               Answer or Otherwise Respond to Plaintiffs
                               Complaint for Patent Infringement by
                               Zappos.Com, Inc .. (Attachments: # 1 Text of
                               Proposed Order)(Herhold, Theodore) (Entered:
                               12/06/2007)
 12/07/2007                 29 MOTION for Extension of Time to File Answer re
                               U Amended Complaint, [Unopposed] by Redcats
                               USA LP, The Sportsman's Guide Inc.


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                                  (Attachments: # 1 Text of Proposed Order)(Jones,
                                  Michael) (Entered: 12/07/2007)
 12/07/2007                 30 ORDER granting 28 Motion for Extension of Time
                               to Answer re 28 Consent MOTION for Extension
                               of Time to File Answer or Otherwise Respond to
                               Plaintiffs Complaint for Patent Infringement.
                               Defendant Zappos.com, Inc.'s answer is due by
                               12/31/07. Signed by Judge Leonard Davis on
                               12/7/07. (mjc) (Entered: 12/07/2007)
 12/07/2007                       Set/Reset Deadlines: Zappos.Com, Inc. answer due
                                  12/31/2007. (mjc) (Entered: 12/07/2007)
 12/07/2007                 31 MOTION for Extension of Time to File Answer re
                            -

                               11 Amended Complaint, Unopposed Motion to
                               Extend Time to Answer, Move or Otherwise
                               Respond to the Amended Complaint ofPlaintiffby
                               CDW Corporation. (Attachments: # 1 Text of
                               Proposed Order)(Findlay, Eric) (Entered:
                               12/07/2007)
 12/10/2007                 32 ORDER granting 29 Motion for Extension of Time
                               to Answer re 29 MOTION for Extension of Time
                               to File Answer re 13 Amended Complaint,
                               [Unopposed]. Defendants Redcats USA, L.P. and
                               The Sportsman's Guide's answers are due by
                               12/31/07. Signed by Judge Leonard Davis on
                               12/10/07. (mjc) (Entered: 12/10/2007)
 12/10/2007                       Set/Reset Deadlines: The Sportsman's Guide Inc
                                  answer due 12/31/2007; Redcats USA LP answer
                                  due 12/31/2007. (mjc) (Entered: 12/10/2007)
 12/10/2007                 33 ORDER granting 31 Motion for Extension of Time
                               to Answer re 11 MOTION for Extension of Time
                               to File Answer re U Amended Complaint,
                               Unopposed Motion to Extend Time to Answer,
                               Move or Otherwise Respond to the Amended
                               Complaint ofPlaintif!MOTION for Extension of



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                                 Time to File Answer re U Amended Complaint,
                                 Unopposed Motion to Extend Time to Answer,
                                 Move or Otherwise Respond to the Amended
                                 Complaint ofPlaintiff. CDW Corporation's answer
                                 is due 12/31/07. Signed by Judge Leonard Davis
                                 on 12/10/07. (mjc) (Entered: 12/10/2007)
 12/10/2007                      Set/Reset Deadlines: CDW Corporation answer
                                 due 12/31/2007. (mjc) (Entered: 12110/2007)
 12110/2007                34 NOTICE of Attorney Appearance by Mary-Olga
                              Lovett on behalf of Systemax Inc. (Lovett, Mary-
                              Olga) (Entered: 12/10/2007)
 12110/2007                35 NOTICE of Attorney Appearance by Mary-Olga
                              Lovett on behalf of Tiger Direct Inc (Lovett, Mary-
                              Olga) (Entered: 12/10/2007)
 12110/2007                36 MOTION for Extension of Time to File
                              Unopposed Motion for Enlargement ofTime in
                              Which to Answer or Otherwise Respond by
                              Systemax Inc .. (Attachments: # 1 Text of Proposed
                              Order)(Lovett, Mary-Olga) (Entered: 12110/2007)
 12/10/2007                37 MOTION for Extension of Time to File
                              Unopposed Motion for Enlargement of Tme in
                              Which to Answer or Otherwise Respond by Tiger
                              Direct Inc. (Attachments: # 1 Text of Proposed
                              Order)(Lovett, Mary-Olga) (Entered: 12110/2007)
 12/10/2007                38 APPLICATION to Appear Pro Hac Vice by
                              Attorney Jennifer Seraphine for Soverain Software
                              LLC. (mil,) (Entered: 12/11/2007)
 12/10/2007                41
                           -     Return of Service Executed as to Tiger Direct Inc
                                 on 11/28/2007, by personal service; answer due:
                                 12118/2007. (mil, ) (Entered: 12/11/2007)
 12/10/2007                42 Return of Service Executed as to The Sportsman's
                           -

                              Guide Inc on 11/28/2007, by personal service;
                              answer due: 12/18/2007. (mil,) (Entered:



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                                 1211112007)
 12/10/2007                43 Return of Service Executed as to Redcats USA LP
                           -

                              on 11129/2007, by personal service on The
                              Corporation Trust Company; answer due:
                              12/19/2007. (mll, ) (Entered: 12/11 /200 7)
 12/10/2007                44 Return of Service Executed as to Redcats USA LP
                              on 11/28/2007, by personal service on CT
                              Corporation System, Houston, Texas; answer due:
                              12/18/2007. (mll,) (Entered: 1211112007)
 1211112007                39 ORDER granting 36 Motion for Extension of Time
                              to File. Accordingly, IT IS ORDERED,that
                              Systemax Inc time to answer or otherwise respond
                              in any manner to Plaintiffs Amended Complaint is
                              extended to December 31, 2007. Signed by Judge
                              Leonard Davis on 12/11107. (fnt,) (Entered:
                              1211112007)
 1211112007                      Answer Due Deadline Updated for Systemax Inc
                                 12/3112007 (fnt, ) (Entered: 1211112007)
 1211112007                40 ORDER granting 37 Motion for Extension of Time
                              to File. Accordingly, IT IS ORDERED, that Tiger
                              Direct,Inc.'s time to answer or otherwise respond
                              in any manner to Plaintiffs Amended Complaint is
                              extended to December 31, 2007. Signed by Judge
                              Leonard Davis on 12/11107. (fnt, ) (Entered:
                              12/1112007)
 1211112007                45 APPLICATION to Appear Pro Hac Vice by
                              Attorney Steven Gardner for The Sportsman's
                              Guide Inc and Redcats USA, Inc. (mll, ) (Entered:
                              12/12/2007)
 1211112007                46 APPLICATION to Appear Pro Hac Vice by
                           -

                              Attorney Frank W Leak, Jr for The Sportsman's
                              Guide Inc and Redcats USA, Inc. (mll,) (Entered:
                              12/12/2007)



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 12/1112007                47 APPLICATION to Appear Pro Hac Vice by
                              Attorney Tonya R Deem for The Sportsman's
                              Guide Inc and Redcats USA, Inc. (mll,) (Entered:
                              12/12/2007)
 12/1112007                      Pro Hac Vice Filing fee paid by Steven Gardner,
                                 Frank Leak, and Tonya Deem; Fee: $75, receipt
                                 number: 6-1-12070 (mll,) (Entered: 12/12/2007)
 12/12/2007                48 NOTICE of Attorney Appearance by Sidney
                              Calvin Capshaw, III on behalf of Zappos.Com, Inc.
                              (Capshaw, Sidney) (Entered: 12112/2007)
 12112/2007                49 NOTICE of Attorney Appearance by Mary-Olga
                              Lovett on behalf of Tiger Direct Inc (Lovett, Mary-
                              Olga) Modified on 12113/2007 (djh, ). Modified on
                              12113/2007 (djh, ). Additional attachment(s) added
                              on 12113/2007 (djh, ). (Entered: 12/12/2007)
 12112/2007                 50 NOTICE of Attorney Appearance by Mary-Olga
                               Lovett on behalf of Tiger Direct Inc (Lovett, Mary-
                               Olga) Modified on 12/13/2007 (djh, ). Modified on
                               12/13/2007 (djh, ). Additional attachment(s) added
                               on 12113/2007 (djh, ). (Entered: 12/12/2007)
 12/12/2007                 51 NOTICE of Attorney Appearance by Mary-Olga
                           --

                               Lovett on behalf of Tiger Direct Inc (Lovett, Mary-
                               Olga) Modified on 12113/2007 (djh, ). Modified on
                               12/13/2007 (djh, ). Additional attachment(s) added
                               on 12113/2007 (djh, ). (Entered: 12/12/2007)
 12/2112007                 52 STIPULATION ofDismissal without Prejudice as
                               to Defendant Redcats USA, Inc. by Soverain
                               Software LLC. (Giannetti, Thomas) Additional
                               attachment(s) added on 12/27/2007 (rvw, ).
                               (Entered: 12/21/2007)
 12/21/2007                 53 APPLICATION to Appear Pro Hac Vice by
                               Attorney Thomas L Duston for CDW Corporation.
                               (mll,) (Entered: 12/26/2007)



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 12/2112007                54 APPLICATION to Appear Pro Hac Vice by
                              Attorney Charles Edward Juister for CDW
                              Corporation. (mil,) (Entered: 12/26/2007)
 12/21/2007                55 APPLICATION to Appear Pro Hac Vice by
                              Attorney Scott A Sanderson for CDW Corporation.
                              (mil,) (Entered: 12/26/2007)
 12/28/2007                56 ORDER re 52 Stipulation of Dismissal filed by
                              Soverain Software LLC, dismissing without
                              prejudice Defendant Redcats USA, Inc. Each party
                              shall bear its own costs. Signed by Judge Leonard
                              Davis on 12/28/07. (mjc) (Entered: 12/28/2007)
 12/28/2007                57 ANSWER to Amended Complaint,
                              COUNTERCLAIM against Soverain Software
                              LLC by Tiger Direct Inc.(Lovett, Mary-Olga)
                              (Entered: 12/28/2007)
 12/28/2007                58 ANSWER to Amended Complaint,
                              COUNTERCLAIM against Soverain Software
                              LLC by Systemax Inc .. (Lovett, Mary-Olga)
                              (Entered: 12/28/2007)
 12/28/2007                59 MOTION to Withdraw as Attorney (Defendant
                              Zappos.com, Inc.'s Unopposed Motion for
                              Withdrawal ofS. Calvin Capshaw and the law firm
                              ofBrown McCarroll, LLP as Counsel) by
                              Zappos.Com, Inc .. (Attachments: # 1 Text of
                              Proposed Order)(Capshaw, Sidney) (Entered:
                              12/28/2007)
 12/3112007                60 ANSWER to Amended Complaint , Affirmative
                              Defenses, COUNTERCLAIM against Soverain
                              Software LLC by CDW Corporation, Newegg Inc.,
                              Zappos.Com, Inc .. (Findlay, Eric) (Entered:
                              12/3112007)
 12/3112007                61    CORPORATE DISCLOSURE STATEMENT filed
                                 by Newegg Inc. identifying None as Corporate
                                 Parent. (Findlay, Eric) (Entered: 12/3112007)


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      12/31/2007                62 CORPORATE DISCLOSURE STATEMENT filed
                                   by CDW Corporation identifying VH Holdings,
                                   Inc. as Corporate Parent. (Findlay, Eric) (Entered:
                                   12/31/2007)
      12/31/2007                 63 CORPORATE DISCLOSURE STATEMENT filed
                                    by Zappos.Com, Inc. identifying Zappos.com, Inc.
                                    as Corporate Parent. (Findlay, Eric) (Entered:
                                    12/31/2007)
      12/31/2007                 64 ANSWER to Amended Complaint and,
                                    COUNTERCLAIM against Soverain Software
                                    LLC by The Sportsman's Guide Inc, Redcats USA
                                    LP.(Jones, Michael) (Entered: 12/31/2007)
      01/02/2008                 65 MOTION to Withdraw as Attorney by Systemax
                                    Inc .. (Attachments: # 1 Text of Proposed Order)
                                    (Buether, Eric) (Entered: 0 1/02/2008)
      01/02/2008                 66 ORDER granting 59 Motion to Withdraw as
                                    Attorney. Attorney Sidney Calvin Capshaw, III
                                    terminated as to deft Zappos.com Inc. Signed by
                                    Judge Leonard Davis on 01/02/08. cc:attys 1-2-08
                                    (mll,) (Entered: 0 1/02/2008)
      01/02/2008                -
                                 67 MOTION to Withdraw as Attorney (Defendant
                                    Zappos. com, Inc. 's Unopposed Motion for
                                     Withdrawal of Theodore T Herhold and the law
                                    firm of Townsend and Townsend and Crew LLP as
                                    Counsel) by Zappos.Com, Inc .. (Attachments:# 1
                                    Text of Proposed Order)(Herhold, Theodore)
                                    (Entered: 0 1/02/2008)
      01/03/2008                 68 ORDER granting 65 Motion to Withdraw as
                                    Attorney. Attorney Eric William Buether
                                    terminated. Signed by Judge Leonard Davis on
                                    1/3/08. (fnt,) (Entered: 01/03/2008)
      01/03/2008                69 ORDER granting 67 Motion to Withdraw as
                                   Attorney. Attorney Theodore Herhold terminated.
                                   Signed by Judge Leonard Davis on 1/3/08. (fnt,)


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                                 (Entered: 0 1103/2008)
 01107/2008                70 CORPORATE DISCLOSURE STATEMENT filed
                              by Redcats USA LP identifying VLP Corporation,
                              Chadwick's of Boston, Inc., Redcats USA, Inc.,
                              Redcats USA, LLC, Redcats UK, Pic, Redcats,
                              S.A. and PPR, S.A. as Corporate Parent. (Jones,
                              Michael) (Entered: 01107/2008)
 01/07/2008                11 CORPORATE DISCLOSURE STATEMENT filed
                                 by The Sportsman's Guide Inc identifying VLP
                                 Corporation, Redcats USA, Inc., Redcats USA,
                                 LLC, Redcats UK, Pic, Redcats, S.A. and PPR,
                                 S.A. as Corporate Parent. (Jones, Michael)
                                 (Entered: 01107/2008)
 01110/2008                72 ORDER - Status Conference set for 2/4/2008 01 :30
                              PM before Judge Leonard Davis and Magistrate
                              Judge John D. Love in Judge Davis' courtroom in
                              Tyler to set a claim construction hearing date and a
                              trial setting and to determine whether parties will
                              consent to trial before Judge Love. Proposed
                              Discovery Order is Appendix A; Proposed Docket
                              Control Order is Appendix B. Agreed docket
                              control and discovery orders are due 14 days after
                              the status conference, and Plaintiffs PR 3-1 and 3-
                              2 disclosures are due four days after the status
                              conference. Signed by Judge Leonard Davis on
                              1110/08. (mjc) (Entered: 0111 0/2008)
 01/17/2008                73 RESPONSE to 58 Answer to Amended Complaint,
                              Counterclaim Soverain's Reply to Counterclaims of
                              Systemax by Soverain Software LLC. (Giannetti,
                              Thomas) (Entered: 01/17/2008)
 01117/2008                74 RESPONSE to 57 Answer to Amended Complaint,
                              Counterclaim Soverain 's Reply to Counterclaims of
                              TigerDirect by Soverain Software LLC. (Giannetti,
                              Thomas) (Entered: 01117/2008)



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 01/17/2008                 75 RESPONSE to 60 Answer to Amended Complaint,
                               Counterclaim Soverain 's Reply to Counterclaims of
                               CDW, Newegg and Zappos by Soverain Software
                               LLC. (Giannetti, Thomas) (Entered: 01/17/2008)
 01/17/2008                 76 RESPONSE to 64 Answer to Amended Complaint,
                               Counterclaim Soverain's Reply to Counterclaims of
                               Redcats and The Sportsman's Guide by Soverain
                               Software LLC. (Giannetti, Thomas) (Entered:
                               01117/2008)
 01/18/2008                 77 APPLICATION to Appear Pro Hac Vice by
                               Attorney Lynda Q Nguyen for Soverain Software
                               LLC. Fee pd., 6-1-12491. Approved 1/23/08.
                               (mjc) (Entered: 0 1/23/2008)
 01/29/2008                 78 NOTICE of Defendant Systemax Inc.'s Corporate
                               Disclosure Statement by Systemax Inc. (Lovett,
                               Mary-Olga) Modified on 1/30/2008 (mjc ).
                               (Entered: 0 1/29/2008)
 01/29/2008                 79 NOTICE of Defendant TigerDirect, Inc.'s
                               Corporate Disclosure Statement by Tiger Direct
                               Inc. (Lovett, Mary-Olga) Modified on 1/30/2008
                               (mjc ). (Entered: 01/29/2008)
 01/30/2008                      (Court only) ***Motions terminated: 79 MOTION
                                 for Disclosure Defendant TigerDirect, Inc. 's
                                 Corporate Disclosure Statement filed by Tiger
                                 Direct Inc, 78 MOTION for Disclosure Defendant
                                 Systemax Inc. 's Corporate Disclosure Statement
                                 filed by Systemax Inc .. (mjc) (Entered:
                                 0 1/30/2008)
 02/01/2008                 80 APPLICATION to Appear Pro Hac Vice by
                               Attorney William H Boice for The Sportsman's
                               Guide Inc and Redcats USA LP. Fee pd., 6-1-
                               12616. Approved 2/4/08. (mjc) (Entered:
                               02/04/2008)
 02/04/2008                -81   Minute Entry for proceedings held before Judge


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                                 Leonard Davis and Judge John Love: Status
                                 Conference held on 2/4/2008. (Court Reporter
                                 Shea Sloan.) (Attachments: # 1 Attorney Sign-In
                                 Sheet) (rlf,) (Entered: 02/05/2008)
 02/04/2008                82 APPLICATION to Appear Pro Hac Vice by
                              Attorney Andrey Belenky for Soverain Software
                              LLC. Fee pd., 6-1-12648. Approved 2/5/08. (mjc)
                              (Entered: 02/05/2008)
 02/04/2008                      E-Minute Entry for proceedings held before Judge
                                 Leonard Davis and Judge John D. Love: Status
                                 Conference held on 2/4/2008. See Doc# El_.
                                 (Court Reporter Shea Sloan.) (rlf, ) (Entered:
                                 02/05/2008)
 02/06/2008                 83 ORDER reEl Status Conference- Final Pretrial
                               Conference set for 112112010 09:00 AM before
                               Judge Leonard Davis. Jury Selection set for
                               2/112010 09:00AM before Judge Leonard Davis.
                               Jury Trial set for 2/8/2010 09:00 AM before Judge
                               Leonard Davis. Markman Hearing set for
                               5/28/2009 09:30AM before Judge Leonard Davis.
                               Parties are to submit agreed Docket Control and
                               Discovery Orders by 2/19/2008. Signed by Judge
                               Leonard Davis on 2/5/08. (mjc ) (Entered:
                               02/06/2008)
 02/1112008                -84 NOTICE of Disclosure by Soverain Software LLC
                               ofAsserted Claims and Infringement Contentions
                               (Giannetti, Thomas) (Entered: 0211112008)
 0211112008                 85 APPLICATION to Appear Pro Hac Vice by
                               Attorney Kenneth Canfield for Soverain Software
                               LLC. Fee pd., 6-1-12724. Approved 2/12/08.
                               (mj c ) (Entered: 02112/2008)
 02/19/2008                 86 NOTICE by CDW Corporation Agreed Notice of
                               Compliance Regarding the Court's February 6,
                               2008 Order (Attachments: # 1 Exhibit A# 2



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                                 Exhibit B)(Findlay, Eric) (Entered: 02/19/2008)
 02/25/2008                 87 SCHEDULING ORDER AND ORDER
                               REFERRING CASE TO MEDIATOR: Final
                               Pretrial Conference set for 1/21/2010 09:00AM
                               before Judge Leonard Davis. Discovery due by
                               8/3112009. Jury Selection set for 2/112010
                               09:00AM before Judge Leonard Davis. ORDER
                               REFERRING CASE to Mediator. Michael Philip
                               Patterson rep by Michael Philip Patterson added as
                               Mediator.Expert Witness List due by 7/2112009.
                               Identify trial witnesses by 9/14/2009. Jury
                               instructions due by 11/24/2009. Mediation
                               Completion due by 5/14/2008. Proposed Pretrial
                               Order due by 11124/2009. Jury Trial set for
                               2/8/2010 09:00AM before Judge Leonard Davis.
                               Markman Hearing set for 5/28/2009 09:30AM
                               before Judge Leonard Davis. Signed by Judge
                               Leonard Davis on 2/22/08. (mjc) (Entered:
                               02/25/2008)
 02/25/2008                 88 APPLICATION to Appear Pro Hac Vice by
                               Attorney Clark Craddock for Soverain Software
                               LLC. Fee pd., 6-1-12863. Approved 2/27/08.
                               (mjc) (Entered: 02/27 /2008)
 02/25/2008                 89 APPLICATION to Appear Pro Hac Vice by
                               Attorney Stela Cristina Tipi for Soverain Software
                               LLC. Fee pd., 6-1-12861. Approved 2/27/08.
                               (mjc ) (Entered: 02/27/2008)
 02/25/2008                90 APPLICATION to Appear Pro Hac Vice by
                              Attorney Matthew C Nielsen for CDW
                              Corporation. Fee pd., 6-1-12864. Approved
                              2/27/08. (mjc) (Entered: 02/27/2008)
 03/05/2008                 91 DISCOVERY ORDER entered in furtherance of
                               the management of the Court's docket under FRCP
                               16. Signed by Judge Leonard Davis on 3/5/08.
                               (mjc) (Entered: 03/05/2008)


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 03/1112008                 92 NOTICE of Attorney Appearance by Scott A
                               Sanderson on behalf ofNewegg Inc., Zappos.Com,
                               Inc. (Sanderson, Scott) (Entered: 0311112008)
 0311112008                 93 NOTICE of Attorney Appearance by Matthew C
                               Nielsen on behalf ofNewegg Inc., Zappos.Com,
                               Inc. (Nielsen, Matthew) (Entered: 03/1112008)
 03/1112008                 94 NOTICE of Attorney Appearance by Charles
                               Edward Juister on behalf ofNewegg Inc.,
                               Zappos.Com, Inc. (Juister, Charles) (Entered:
                               03/1112008)
 0311112008                 95 NOTICE of Attorney Appearance by Thomas L
                               Duston on behalf ofNewegg Inc., Zappos.Com,
                               Inc. (Duston, Thomas) (Entered: 03/1112008)
 03/20/2008                 96 NOTICE by Soverain Software LLC of
                               Compliance with Paragraph 1 ofDiscovery Order
                               (Giannetti, Thomas) (Entered: 03/20/2008)
 03/20/2008                 97 NOTICE of Disclosure by The Sportsman's Guide
                               Inc, Redcats USA LP Regarding Initial
                               Disclosures (Jones, Michael) (Entered:
                               03/20/2008)
 03/20/2008                ~
                            98 NOTICE of Disclosure by Tiger Direct Inc
                               DEFENDANT TIGERDIRECT, INC.'S NOTICE
                               OF SERVICE OF INITIAL DISCLOSURES
                               PURSUANT TO PARAGRAPH 1 OF FEBRUARY
                               19, 2008 DISCOVERY ORDER (Lovett, Mary-
                               Olga) (Entered: 03/20/2008)
 03/20/2008                 99 NOTICE of Disclosure by Systemax Inc.
                               DEFENDANT SYSTEMAX, INC.'S NOTICE OF
                               SERVICE OF INITIAL DISCLOSURES
                               PURSUANT TO PARAGRAPH 1 OF FEBRUARY
                               19, 2008 DISCOVERY ORDER (Lovett, Mary-
                               Olga) (Entered: 03/20/2008)
 03/20/2008               100 NOTICE of Disclosure by CDW Corporation,



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                                 Newegg, Inc. and Zappos. com, Inc. (Duston,
                                 Thomas) (Entered: 03/20/2008)
 03/26/2008               101 NOTICE of Attorney Appearance by Carl R Roth
                              on behalf of Soverain Software LLC (Roth, Carl)
                              (Entered: 03/26/2008)
 03/26/2008               102 NOTICE of Attorney Appearance by Amanda
                              Aline Abraham on behalf of Soverain Software
                              LLC (Abraham, Amanda) (Entered: 03/26/2008)
 03/26/2008               103 NOTICE of Attorney Appearance by Brendan Clay
                              Roth on behalf of Soverain Software LLC (Roth,
                              Brendan) (Entered: 03/26/2008)
 03/26/2008               104 NOTICE of Attorney Appearance by Michael
                              Charles Smith on behalf of Soverain Software LLC
                              (Smith, Michael) (Entered: 03/26/2008)
 04/07/2008               105 NOTICE of Attorney Appearance by Douglas Ray
                              McSwane, Jr on behalf of Tiger Direct Inc
                              (McSwane, Douglas) (Entered: 04/07 /2008)
 04/07/2008               106 NOTICE of Attorney Appearance by Douglas Ray
                              McSwane, Jr on behalf of Systemax Inc.
                              (McSwane, Douglas) (Entered: 04/07 /2008)
 04114/2008               107_ Return of Service Executed as to The Sportsman's
                               Guide Inc on 12/8/2007, answer due: 12/28/2007.
                               (mjc) (Entered: 04117/2008)
 04114/2008               108 Return of Service Executed as to Tiger Direct Inc
                              on 12/13/2007, answer due: 112/2008. (mjc)
                              (Entered: 0411 7/2008)
 04114/2008               109 Return of Service Executed as to Zappos.Com, Inc.
                              on 11113/2007, answer due: 12/31/2007. (mjc)
                              (Entered: 0411 7/2008)
 04114/2008               110 Return of Service Executed as to CDW
                              Corporation on 11119/2007, answer due:
                              12/9/2007. (mjc) (Entered: 04/17/2008)



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 04/14/2008               Ill Return of Service Executed as to N ewegg Inc. on
                                  11/19/2007, answer due: 12/31/2007. (mjc)
                                  (Entered: 04/17 /2008)
 04/14/2008               112 Return of Service Executed as to Systemax Inc. on
                              11/15/2007, answer due: 12/5/2007. (mjc)
                              (Entered: 04/17/2008)
 05/08/2008               113 NOTICE by Soverain Software LLC of
                              Compliance with Paragraphs 2(B) and 2(C) of the
                              Discovery Order (Tipi, Stela) (Entered:
                              05/08/2008)
 05/13/2008               114 APPLICATION to Appear Pro Hac Vice by
                              Attorney Julianne Hartzell for CDW Corporation,
                              Zappos.com, Inc. and Newegg Inc. Fee pd., 6-1-
                              13755. Approved 5/15/08.(mjc) (Entered:
                              05/15/2008)
 05/21/2008               115 REPORT of Mediation by Michael Philip
                              Patterson. Mediation result: still negotiating
                              (Patterson, Michael) (Entered: 05/21/2008)
 06/09/2008               116 E-GOV SEALED SUMMONS Issued as to
                              Zappos.Com, Inc .. (fnt,) (Entered: 06/10/2008)
 06/17/2008               117 REPORT of Mediation by Michael Philip
                          -

                              Patterson. Mediation result: Soverain settled with
                              RedCats(Patterson, Michael) (Entered:
                              06/17/2008)
 06/18/2008               118 Consent MOTION to Amend/Correct 86 Notice
                              (Other) Docket Control Order by The Sportsman's
                              Guide Inc, Redcats USA LP. (Attachments:# 1
                              Text of Proposed Order)(Leak, Frank) (Entered:
                              06/18/2008)
 06/19/2008               119 ORDER granting 118 Motion to Amend/Correct
                              Docket Control Order to Extend Specific
                              Deadlines. Signed by Judge Leonard Davis on
                              6119/08. (mjc) (Entered: 06119/2008)



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 06/20/2008               120 MOTION for Extension of Time to Complete
                              Discovery Order to Extend Deadlines by Systemax
                              Inc .. (Attachments: # 1 ORDER)(Lovett, Mary-
                              Olga) (Entered: 06/20/2008)
 06/20/2008               121 RESPONSE to Motion re 120 MOTION for
                              Extension of Time to Complete Discovery Order
                              to Extend Deadlines filed by Soverain Software
                              LLC. (Attachments:# 1 Text of Proposed Order)
                              (Tipi, Stela) (Entered: 06/20/2008)
 06/2112008               122 MOTION to Amend/Correct 87 Scheduling
                              Order,, Order Referring Case to Mediator,, Set
                              Hearings, by CDW Corporation. (Attachments: #
                              1 Exhibit A - Proposed Amended Docket Control
                              Order)(Duston, Thomas) (Entered: 06/2112008)
 06/25/2008               123 ORDER denying as moot 120 Motion for
                              Extension of Time to Complete Discovery;
                              granting 122 Motion to Amend/Correct Docket
                              Control Order .. Signed by Judge Leonard Davis on
                              6/25/08. (mjc ) (Entered: 06/25/2008)
 06/25/2008               124 SCHEDULING ORDER: Discovery due by
                              8/3112009. Expert Witness List due by 7/2112009.
                              Identify trial witnesses by 9114/2009, Jury
                              instructions due by 11124/2009, Mediation
                              Completion due by 5114/2008. Proposed Findings
                              of Fact due by 11124/2009, Proposed Pretrial Order
                              due by 11124/2009. Jury Trial set for 2/8/2010
                              09:00AM before Judge Leonard Davis. Final
                              Pretrial Conference set for 112112010 09:00AM
                              before Judge Leonard Davis. Jury Selection set for
                              2/112010 09:00AM before Judge Leonard Davis.
                              Signed by Judge Leonard Davis on 6/25/08. (mjc)
                              (Entered: 06/25/2008)
 07/02/2008               125 STIPULATION of Dismissal bertween Plaintiff
                              and Defendants Redeals USA, Inc., Redeals USA,
                              L.P. and The Sportsmans Guide, Inc. by Soverain


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                                 Software LLC. (Attachments:# 1 Text of Proposed
                                 Order Proposed ORDER OF DISMISSAL WITH
                                 PREJUDICE)(Craddock, Clark) (Entered:
                                 07 /02/2008)
 07/03/2008               126 ANSWER to 1 Complaint, Affirmative Defenses
                              and, COUNTERCLAIM against Soverain
                              Software LLC by Zappos.Com, Inc .. (Findlay, Eric)
                              (Entered: 07/03/2008)
 07/07/2008               127 ORDER OF DISMISSAL WITH PREWDICE re
                              125 Stipulation of Dismissal, filed by Soverain
                              Software LLC, Redcats USA LP; Redcats USA,
                              Inc.; The Sportsman's Guide Inc; The Sportsman's
                              Guide Inc; The Sportsman's Guide Inc; The
                              Sportsman's Guide Inc; The Sportsman's Guide
                              Inc; Redcats USA LP and Redcats USA LP
                              terminated. Plaintiffs complaint against Licensee
                              is dismissed with prejudice. Licensee's
                              counterclaims are dismissed with prejudice. Each
                              party shall bear its own attorney's fees, expenses
                              and costs. Signed by Judge Leonard Davis on
                              7/7/08. (mpv,) (Entered: 07/07/2008)
 07/08/2008              -128 Return of Service Executed as to Zappos. Com, Inc.
                              on 6/16/2007, answer due: 7/6/2007. (gsg)
                              (Entered: 07 /09/2008)
 07/21/2008               129 TigerDirect Inc.'s Affirmative Defenses, ANSWER
                              to U Amended Complaint, for Patent
                              Infringement, COUNTERCLAIM to Plaintiffs
                              Amended Complaint for Patent Infringement
                              against Soverain Software LLC by Tiger Direct
                              Inc.(Lovett, Mary-Olga) (Entered: 07 /21/2008)
 07/21/2008               130 Systemax Inc. 's Affirmative Defenses ANSWER to
                              1 Complaint, COUNTERCLAIM to Plaintiffs
                              Amended Complaint for Patent Infringement
                              against Systemax Inc. by Systemax Inc .. (Lovett,
                              Mary-Olga) (Entered: 07 /21/2008)


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 07/21/2008               131 NOTICE by Tiger Direct Inc Notice of Compliance
                              (Lovett, Mary-Olga) (Entered: 07/21/2008)
 07/21/2008               132 NOTICE by Systemax Inc. Notice of Compliance
                              (Lovett, Mary-Olga) (Entered: 07/21/2008)
 07/22/2008                      (Court only) ***Staff notes: Notified by the
                                 Kilpatrick Stockton firm that they no longer wish
                                 to receive electronic notice of filings in this case in
                                 that defts Redcats and Sportsman Guide have been
                                 dismissed from this case. Attorneys have been
                                 removed from the notice list in this case per their
                                 request. (mil, ) (Entered: 07 /22/2008)
 07/23/2008               133 ANSWER to 126 Answer to Complaint,
                              Counterclaim by Soverain Software LLC.
                              (Giannetti, Thomas) (Entered: 07 /23/2008)
 07/30/2008               134 MOTION for Extension of Time to File Amended
                              Answer, Affirmative Defenses and Counterclaims
                              and to Exchange Proposed Terms and Claim
                              Elements for Construction by CD W Corporation.
                              (Attachments: # 1 Text of Proposed Order)
                              (Duston, Thomas) (Entered: 07 /30/2008)
 07/31/2008               135 ORDER granting 134 Motion for Extension of
                              Time. Defts are granted an extension of time
                              through 8-20-08 to ( 1) assert any counterclaims
                              without leave of Court; and (2) add any inequitable
                              conduct allegations to pleadings without leave of
                              Court, and the date for the exchange of terms and
                              claim elements for construction is extended
                              through 9-19-08. Signed by Judge Leonard Davis
                              on 07/31/08. cc:attys 7-31-08 (mil,) (Entered:
                              07 /31/2008)
 08111/2008               136 ANSWER to 129 Answer to Amended Complaint,
                              Counterclaim, by Soverain Software LLC.
                              (Giannetti, Thomas) (Entered: 08111/2008)
 08111/2008               137 ANSWER to Complaint Answer to Counterclaims


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                                 ofDefendant Systemax, Docket Entry #130 by
                                 Soverain Software LLC.( Giannetti, Thomas)
                                 (Entered: 08/11/2008)
 08/20/2008               13_8_ AMENDED ANSWER to 13 Amended Complaint,
                                First, Amended COUNTERCLAIM against
                                Soverain Software LLC by CDW Corporation,
                                Newegg Inc., Zappos.Com, Inc .. (Duston, Thomas)
                                (Entered: 08/20/2008)
 09/02/2008              -139 APPLICATION to Appear Pro Hac Vice by
                              Attorney Mira S Wolff for Newegg Inc .. (mil,)
                              (Entered: 09/04/2008)
 09/02/2008              -140 APPLICATION to Appear Pro Hac Vice by
                              Attorney Kent E Baldauf, Jr for Newegg Inc ..
                              (mil, ) (Entered: 09/04/2008)
 09/02/2008               141 APPLICATION to Appear Pro Hac Vice by
                              Attorney John W Mcilvaine, III for Newegg Inc ..
                              (mil,) (Entered: 09/04/2008)
 09/02/2008               142 APPLICATION to Appear Pro Hac Vice by
                         --

                              Attorney David CHanson for Newegg Inc .. (mil,)
                              (Entered: 09/04/2008)
 09/04/2008               143 MOTION for Extension of Time to File
                              Response/Reply as to 138 Amended Answer to
                              Complaint, Counterclaim Agreed Motion to Extend
                              Time to Reply or Otherwise Respond to
                              Counterclaims ofDefendants by Soverain Software
                              LLC. (Attachments:# 1 Text of Proposed Order
                              Granting Soverain Agreed Motion to Extend Time
                              to Reply or Otherwise Respond to Defendants
                              Counterclaims)(Giannetti, Thomas) (Entered:
                              09/04/2008)
 09/08/2008               144 ORDER granting 143 Motion for Extension of
                              Time to File Response/Reply re 143 MOTION for
                              Extension of Time to File Response/Reply as to
                              138 Amended Answer to Complaint, Counterclaim


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                                  Agreed Motion to Extend Time to Reply or
                                  Otherwise Respond to Counterclaims of
                                  Defendants Responses due by 10/1 0/2008 Replies
                                  due by 10/10/2008. Signed by Judge Leonard
                                  Davis on 9/5/2008. (gsg) (Entered: 09/08/2008)
 09/12/2008               145 MOTION to Withdraw as Attorney Defendant
                              Newegg Inc.'s Unopposed Motion for Withdrawal
                              and Substitution of Counsel by N ewegg Inc ..
                              (Attachments: # 1 Text ofProposed Order)
                              (Yarbrough, Herbert) (Entered: 09/12/2008)
 09/16/2008               146 MOTION to Amend/Correct Defendant Newegg,
                              Inc. 's Unopposed Motion to Amend the Docket
                              Control Order by Newegg Inc .. (Attachments: # 1
                              Text ofProposed Order)(Yarbrough, Herbert)
                              (Entered: 09/16/2008)
 09/17/2008               147 ORDER granting 146 Motion to Amend Docket
                              Control Order. Parties are granted an extension of
                              time until 10-31-08 to exchange proposed terms
                              and claim elements for construction in compliance
                              with PR 4-1. Signed by Judge Leonard Davis on
                              09/17/08. cc:attys 9-17-08 (mll,) (Entered:
                              09/17/2008)
 09/19/2008               148 ORDER granting 145 Motion to Withdraw as
                              Attorney. Added attorney Kent E Baldauf, Jr., John
                              W Mcilvaine, III, David C Hanson, and Mira S
                              Wolff for Newegg Inc. Attorney Julianne Hartzell;
                              Charles Edward Juister; Matthew C Nielsen; Scott
                              A Sanderson; Thomas L Duston and Eric Hugh
                              Findlay terminated. Signed by Judge Leonard
                              Davis on 09/19/08. cc:attys 9-19-08 (mll,)
                              (Entered: 09119/2008)
 09/19/2008               149 ***SEE 150 FOR CERTIFICATE OF
                              CONFERENCE***
                              MOTION for Protective Order by Soverain
                              Software LLC. (Attachments: # 1 Exhibit A, # 2


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                                 E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                                 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12
                                 Exhibit L, # U Text of Proposed Order)(Giannetti,
                                 Thomas) Modified on 9/19/2008 (mjc ). (Entered:
                                 09/19/2008)
 09/19/2008               150 AFFIDAVIT in Support re 149 MOTION for
                              Protective Order Certificate of Conference filed by
                              Soverain Software LLC. (Giannetti, Thomas)
                              (Entered: 09/19/2008)
 09/19/2008               151 AFFIDAVIT in Support re 149 MOTION for
                              Protective Order filed by Soverain Software LLC.
                              (Seraphine, Jennifer) (Entered: 09/19/2008)
 09/19/2008               152 SEALED ADDITIONAL ATTACHMENTS to
                              Main Document: 149 MOTION for Protective
                              Order, Exhibit G. (Giannetti, Thomas) Modified on
                              9/19/2008 (mjc ). (Entered: 09/19/2008)
 10/06/2008               153 Unopposed MOTION for Extension of Time to
                              File Response/Reply to Plaintiffs Motion for
                              Protective Order by TigerDirect, Inc. and by
                              Systemax Inc .. (Attachments: # 1 Text of Proposed
                              Order Order Granting Defendants Systemax, Inc.
                              and TigerDirect, Inc.'s Unopposed Motion to
                              Enlarge Time)(Lovett, Mary-Olga) (Entered:
                              10/06/2008)
 10/06/2008               154 RESPONSE to Motion re 149 MOTION for
                              Protective Order filed by CD W Corporation.
                              (Duston, Thomas) (Entered: 10/06/2008)
 10/07/2008               155 ORDER granting 153 Motion for Extension of
                              Time to File Response re 149 MOTION for
                              Protective Order; Responses due by 10/10/2008.
                              Signed by Judge Leonard Davis on 10/07/08.
                              cc:attys 10-07-08 (mll, ) (Entered: 10/07/2008)
 10/10/2008               156 Reply ANSWER to 138 Amended Answer to


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                                 Complaint, Counterclaim ofCDW, Newegg, and
                                 Zappos by Soverain Software LLC.(Giannetti,
                                 Thomas) (Entered: 10/1 0/2008)
 10/10/2008               157 SEALED RESPONSE to Motion re 149 MOTION
                              for Protective Order filed by Tiger Direct Inc.
                              (Attachments: # 1 Exhibit EXHIBIT A, # 2 Exhibit
                              EXHIBIT B, # 3 Exhibit EXHIBIT C, # 4 Exhibit
                              EXHIBIT D, # 5 Exhibit EXHIBIT E, # Q_ Exhibit
                              EXHIBIT F)(Lovett, Mary-Olga) (Entered:
                              10/1 0/2008)
 10/16/2008               158 ***FILED IN ERROR. PLEASE
                              DISREGARD.***
                              STIPULATION TO EXTEND TIME TO FILE
                              REPLY by Soverain Software LLC. (Tipi, Stela)
                              Modified on 10117/2008 (mjc ). (Entered:
                              10/16/2008)
 10117/2008               li2 Unopposed MOTION for Extension of Time to
                                 File Response/Reply by Soverain Software LLC.
                                 (Attachments: # 1 Text of Proposed Order)
                                 (Giannetti, Thomas) (Entered: 10117/2008)
 10/20/2008               160 ORDER granting 159 Motion for Extension of
                              Time to File Response/Reply re 149 MOTION for
                              Protective Order; Replies due by 10/23/2008.
                              Signed by Judge Leonard Davis on 10/20/08.
                              cc:attys 10-20-08 (mll, ) (Entered: 10/20/2008)
 10/23/2008               161 REPLY to Response to Motion re 149 MOTION
                              for Protective Order (Reply to CDW's Response)
                              filed by Soverain Software LLC. (Attachments: # 1
                              Exhibit M)(Giannetti, Thomas) (Entered:
                               10/23/2008)
 10/23/2008               162 REPLY to Response to Motion re 149 MOTION
                          -

                              for Protective Order (Reply to Systemax and
                              TigerDirect's Response) filed by Soverain Software
                              LLC. (Attachments: # 1 Exhibit N)(Giannetti,



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                                                                          --
                                 Thomas) (Entered: 10/23/2008)
 10/3112008               163 NOTICE of Disclosure by Soverain Software LLC
                              ofProposed Terms and Claim Elements for
                              Construction (pursuant to P.R. 4-1) (Giannetti,
                              Thomas) (Entered: 10/3112008)
 10/3112008               164 NOTICE of Disclosure by Newegg Inc. of
                              Proposed Terms and Claim Elements for
                              Construction (Yarbrough, Herbert) (Entered:
                              10/3112008)
 10/3112008               165 NOTICE of Disclosure by CDW Corporation,
                              Zappos.Com, Inc. ofProposed Terms and Claim
                              Elements (Hartzell, Julianne) (Entered:
                              10/3112008)
 10/3112008               166 NOTICE of Disclosure by Tiger Direct Inc of
                              Proposed Terms and Claim Elements for
                              Construction (Lovett, Mary-Olga) (Entered:
                              10/3112008)
 10/3112008               167 NOTICE of Disclosure by Systemax Inc. of
                              Proposed Terms and Claim Elements for
                              Construction (Lovett, Mary-Olga) (Entered:
                              10/3112008)
 12/0112008               168 STIPULATION of Dismissal between Plaintiff
                              Soverain Software LLC and Defendant
                              Zappos. com, Inc. by Soverain Software LLC.
                              (Attachments: # 1 Text of Proposed Order)
                              (Giannetti, Thomas) (Entered: 12/0 112008)
 12/02/2008               169 ORDER re 168 Stipulation of Dismissal filed by
                              Soverain Software LLC. Pltfs complaint against
                              Licensee is dismissed without prejudice. Licensee's
                              counterclaims against pltf are dismissed without
                              prejudice. Each party shall bear its own atty's fees,
                              expenses and costs. Signed by Judge Leonard
                              Davis on 12/02/08. cc:attys 12-03-08(mll, )
                              (Entered: 12/03/2008)


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 12/02/2008                      (Court only) *** Party Zappos.Com, Inc.
                                 terminated per 169 Order of partial dismissal.
                                 (mll,) (Entered: 12/03/2008)
 01/13/2009               170 ORDER granting 149 Motion for Protective Order.
                              The Court further orders Soverain to direct its
                              attorneys and experts that they shall not access
                              Tiger Direct's and Systemax's customer
                              information when reviewing those parties' source
                              code. Signed by Judge Leonard Davis on 01/13/09.
                              cc:attys 1-14-09(mll,) (Entered: 01/14/2009)
 01/13/2009               171 PROTECTIVE ORDER. Signed by Judge Leonard
                              Davis on 01113/09. cc:attys 1-14-09(mll, )
                              (Entered: 0 1114/2009)
 01120/2009               172 NOTICE by CDW Corporation Notice of Change
                              of Contact Information (Findlay, Eric) (Entered:
                              01/20/2009)
 02/06/2009               173 Agreed MOTION for Extension of Time to
                              Complete Discovery Comply with P.R. 4-2 to
                              Exchange with PlaintiffPreliminary Claim
                              Constructions and Extrinsic Evidence and to
                              Exchange Privilege Logs, Agreed MOTION for
                              Extension of Time to File Joint Claim
                              Construction and Prehearing Statement (P.R. 4-3)
                              by Tiger Direct Inc, Systemax Inc .. (Attachments:
                              # 1 Text of Proposed Order Order Granting Agreed
                              Motion For Extension of Time for Defendants to
                              Comply with Patent Rules 4-2 and 4-3)(Lovett,
                              Mary-Olga) (Entered: 02/06/2009)
 02/09/2009               174 ORDER granting 173 Motion for Extension of
                              Time to Complete Discovery; granting 11~ Motion
                              for Extension of Time. Defts are granted an
                              extension of time through 2-20-09 to comply with
                              PR 4-2 to exchange preliminary claim
                              constructions and extrinsic evidence and to
                              exchange privilege log, and the date for filing joint


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                                 claim construction and prehearing statement under
                                 PR 4-3 is extended through 3-16-09. Signed by
                                 Judge Leonard Davis on 02/09/09. cc:attys 2-9-09
                                 (mil, ) (Entered: 02/09/2009)
 02/10/2009               175 Unopposed MOTION to Vacate ORDER (DKT
                              NO. 174)AND TO ENTER A CORRECTED
                              ORDER by Soverain Software LLC. (Attachments:
                              # 1 Text of Proposed Order)(Giannetti, Thomas)
                              (Entered: 02/1 0/2009)
 02/11/2009              176 ORDER granting 175 Motion to Vacate 174 Order
                             on Motion for Extension of Time to Complete
                             Discovery, and Order on Motion for Extension of
                             Time to File. The deadline for complying with PR
                             4-2 is set to 2-20-09 for all parties. The deadline
                             for the exchange of privilege logs is set to 2-20-09
                             for all parties. The deadline for complying with PR
                             4-3 is set to 3-16-09 for all parties. Signed by
                             Judge Leonard Davis on 02111/09. cc:attys 2-11-09
                             (mil,) (Entered: 02111/2009)
 02/19/2009              177 NOTICE of Attorney Appearance by Ognjan V
                             Shentov on behalf of Soverain Software LLC
                             (Shentov, Ognjan) (Entered: 02/19/2009)
 02/20/2009              178 NOTICE by Soverain Software LLC of
                             Compliance with P.R. 4-2 (Giannetti, Thomas)
                             (Entered: 02/20/2009)
 02/20/2009              179 NOTICE by Systemax Inc. of Compliance with
                             P.R. 4-2 (Lovett, Mary-Olga) (Entered:
                             02/20/2009)
 02/20/2009              180 NOTICE by Tiger Direct Inc of Compliance with
                             P.R. 4-2 (Lovett, Mary-Olga) (Entered:
                             02/20/2009)
 02/20/2009              181 NOTICE by Systemax Inc. regarding Privilege
                             (Lovett, Mary-Olga) (Entered: 02/20/2009)



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 02/20/2009               182 NOTICE by Tiger Direct Inc regarding Privilege
                              (Lovett, Mary-Olga) (Entered: 02/20/2009)
 02/20/2009               183 NOTICE by CDW Corporation of Compliance
                              with Docket Control Order Regarding Privilege
                              (Duston, Thomas) (Entered: 02/20/2009)
 02/20/2009               184 NOTICE by CDW Corporation of Compliance
                              with P.R. 4-2 (Duston, Thomas) (Entered:
                              02/20/2009)
 02/20/2009               185 NOTICE by Newegg Inc. Notice of Compliance
                              with P.R. 4-2 (Yarbrough, Herbert) (Entered:
                              02/20/2009)
 03/12/2009               186 STIPULATION of Dismissal between Plaintiff
                              Soverain Software LLC and Defendant CDW
                              Corporation by Soverain Software LLC.
                              (Attachments:# 1 Text of Proposed Order
                              [Proposed] Order of Dismissal with Prejudice)
                              (Giannetti, Thomas) (Entered: 03/12/2009)
 03/16/2009               187 ORDER re 186 Stipulation of Dismissal filed by
                              Soverain Software LLC. Pltfs complaint against
                              deft CDW Corporation is dismissed with prejudice.
                              CDW's counterclaims against pltf are dismissed
                              with prejudice. Each party shall bear its own attys'
                              fees, expenses and costs. Signed by Judge Leonard
                              Davis on 03/16/09. cc:attys 3-16-09(mll,)
                              (Entered: 03/16/2009)
 03/16/2009                      (Court only)*** Party deft CDW Corporation
                                 terminated per 187 Order of partial dismissal.
                                 (mll, ) (Entered: 03/16/2009)
 03/16/2009               188 PR 4-3 Joint Submission. (Attachments:# 1
                              Exhibit Claim Construction Comparison Chart,# 2_
                              Exhibit Soverain's Claim Constructions and
                              Support,# 3_ Exhibit Defendants' Joint Claim
                              Constructions and Support, # 4 Exhibit SM and
                              TD's Claim Construction and Support exhibit, # ~


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                                 Exhibit Defendants' Adopted Constructions)
                                 (Shentov, Ognjan) (Entered: 03/16/2009)
 03/17/2009               189 ORDER re 188 Claim Construction Chart, filed by
                              Soverain Software LLC. The Court orders the
                              parties to meet and confer and narrow the number
                              of disputed terms to a reasonable number. The
                              Court also reminds the parties that the page limits
                              governing dispositive motions apply to claim
                              construction briefing and will not be extended
                              absent a showing of good cause. Signed by Judge
                              Leonard Davis on 03/17/09. cc:attys 3-17-09(mll,)
                              (Entered: 03/17/2009)
 03/19/2009               190 NOTICE by Soverain Software LLC of
                              Compliance With Docket Control Order Regarding
                              Technical Advisors (Giannetti, Thomas) (Entered:
                              03/19/2009)
 03/23/2009               191 Joint MOTION for Leave to File Amended P.R. 4-
                              3 Claim Construction and Prehearing Statement
                              by Soverain Software LLC. (Attachments:# 1 Text
                              of Proposed Order Order,# 2 Appendix Amazon
                              Markman Order,# 3 Supplement Amended P.R. 4-
                              3 Joint Claim Construction and Prehearing
                              Statement, # 4 Exhibit Claim Construction
                              Comparison Chart,# 5 Exhibit Soverain's
                              Constructions and Support, # 6 Exhibit Defendants'
                              Joint Constructions and Support, # 7 Exhibit
                              Defendants SM and TD Constructions for a Claim
                              term, # 8 Exhibit Defendants' adopted Amazon
                              constructions and support)(Shentov, Ognjan)
                              (Entered: 03/23/2009)
 03/24/2009               192 ORDER granting 191 Motion for Leave to File
                              Amended Claim Construction. Signed by Judge
                              Leonard Davis on 03/24/09. cc:attys 3-24-09
                              (mll,) (Entered: 03/24/2009)
 03/25/2009               193 ***DOCUMENT FILED IN ERROR. PLEASE


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                                 DISREGARD.***
                                 JOINT AMENDED P.R. 4-3 CLAIM
                                 CONSTRUCTION AND PREHEARING
                                 STATEMENT filed by Soverain Software LLC.
                                 (Attachments:# 1 Exhibit A- Claim Construction
                                 Comparison Chart, # 2 Exhibit B - Soverain's
                                 Proposed Claim Constructions and support, # 3
                                 Exhibit C - Defendants' Joint Proposed Claim
                                 Constructions and support, # 4 Exhibit D - SM and
                                 TD Claim Construction and support for a claim
                                 term, # 5 Exhibit E - Defendants' adopted Amazon
                                 claim constructions)(Shentov, Ognjan) Modified
                                 on 3/26/2009 (mjc, ). (Entered: 03/25/2009)
 03/26/2009                      ***FILED IN ERROR. Document # 193,
                                 Amended PR 4-3 Joint Claim Construction and
                                 Prehearing Statement. PLEASE IGNORE. TO
                                 BE REFILED WITH SIGNATURES OF
                                 ATTORNEYS FOR ALL PARTIES.***
                                 (mjc, ) (Entered: 03/26/2009)
 03/26/2009               194 ORDER that the parties file any objections they
                              have to the appointment of Michael T McLemore
                              as the Court's technical advisor, by 4-3-09. Signed
                              by Judge Leonard Davis on 03/26/09. cc:attys 3-
                              26-09(mll, ) (Entered: 03/26/2009)
 03/27/2009               195 JOINT AMENDED P.R. 4-3 CLAIM
                              CONSTRUCTION AND PREHEARING
                              STATEMENT (Attachments: # 1 Exhibit a - Claim
                              Construction Comparison Chart, # 2 Exhibit B -
                              Soverain' s Claim Constructions and Support, # 3
                              Exhibit C- Defendants' Joint Claim Constructions
                              and Support,# 4 Exhibit D- Defendants' SM and
                              TD Claim construction for a term, # 5 Exhibit E -
                              Defendants' adopted Amazon claim constructions)
                              (Shentov, Ognjan) (Entered: 03/27/2009)
 04/02/2009               196 NOTICE by Soverain Software LLC ofNo



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                                 Objection to Proposed Technical Advisor
                                 (Giannetti, Thomas) (Entered: 04/02/2009)
 04/08/2009               197 ORDER appointing Michael T McLemore to the
                              position of technical advisor in this case, with his
                              costs to be assessed equally between pltf and defts
                              and timely paid as billed. Signed by Judge Leonard
                              Davis on 04/08/09. cc:attys 4-8-09(mll,) (Entered:
                              04/08/2009)
 04/13/2009               198 NOTICE by Soverain Software LLC OF
                              SUBMISSION OF MARKMAN TUTORIAL
                              (Giannetti, Thomas) (Entered: 04/13/2009)
 04/15/2009               199 CLAIM CONSTRUCTION BRIEF filed by
                              Soverain Software LLC. (Attachments: # 1 Exhibit
                              '314 Patent, # 2 Exhibit '492 Patent, # 3 Exhibit
                              '639 Patent, # 4 Exhibit US Patent 5, 708,780, # 5
                              Exhibit US Patent 5, 724,424, # 6 Exhibit Order-
                              Dkt 192, # 7 Exhibit Excerpt from Defendants' PR
                              4-3 Exhibit C, # 8 Exhibit Excerpt from
                              Defendants PR 4-3 Exhibit D, # 9 Exhibit Excerpt
                              from File History of'639 Patent,# 10 Exhibit
                              Excerpt 2 from File History of'639 Patent,# 11
                              Exhibit Amazon Markman Order,# 12 Exhibit
                              Appendices A-D title pages to Application
                              08/328,133, # 11 Exhibit Excerpt from a Soverain
                              internal document)(Shentov, Ognjan) (Entered:
                              04/15/2009)
 04/30/2009               200 NOTICE by Newegg Inc. ofComplaince (Baldauf,
                              Kent) (Entered: 04/30/2009)
 05/01/2009               201 Notice of Withdrawal of Dispute as to Certian
                              Claims filed by Systemax Inc .. (Lovett, Mary-
                              Olga) (Entered: 05/01/2009)
 05/01/2009               202 Supplemental Notice of Withdrawal of Dispute as
                              to Certain Clam Terms filed by Systemax Inc ..
                              (Lovett, Mary-Olga) (Entered: 05/0 1/2009)



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 05/0112009              203 REPLY to 199 Claim Construction Brief, filed by
                             Newegg Inc .. (Attachments: # 1 Exhibit A, # 2
                             Exhibit B, # 3 Exhibit C)(Baldauf, Kent) (Entered:
                             05/0 112009)
 05/0112009              204 CLAIM CONSTRUCTION BRIEF filed by Tiger
                             Direct Inc, Systemax Inc .. (Attachments: # 1
                             Affidavit Declaration of Mary-Olga Lovett,# 2
                             Exhibit Exhibit 1, # 3 Exhibit EXHIBIT 2, # 4
                             Exhibit Exhibit 3, # 5 Exhibit Exhibit 4, # 6
                             Exhibit Exhibit 5 - Part 1 of 3, # 7 Exhibit Exhibit
                             5 -Part 2 of3, # 8 Exhibit Exhibit 5- Part 3 of3, #
                             9 Exhibit Exhibit 6, # 10 Exhibit Exhibit 7, # 11
                             Exhibit Exhibit 8, # 12 Exhibit Exhibit 9 - Part 1 of
                             2, # U Exhibit Exhibit 9 - Part 2 of 2, # 14 Exhibit
                             Exhibit 10, # 12 Exhibit Exhibit 11, # 16 Exhibit
                             Exhibit 12, # 17 Exhibit Exhibit 13)(Lovett, Mary-
                             Olga) (Entered: 05/0 112009)
 05115/2009              205 REPLY to 204 Systemax and TigerDirect's
                             Responsive Claim Construction Brief, filed by
                             Soverain Software LLC. (Shentov, Ognjan)
                             (Entered: 05115/2009)
 05115/2009              206 REPLY to 203 Newegg's Responsive Claim
                         -

                             Construction Brief, filed by Soverain Software
                             LLC. (Attachments: # 1 Exhibit Exh 14, Excerpts
                             from Appendix A to the '492 Patent)(Shentov,
                             Ognjan) (Entered: 05/15/2009)
 05115/2009              207 Joint Notice Regarding Estimated Time for
                             Markman Hearing, filed by Soverain Software
                             LLC. (Shentov, Ognjan) (Entered: 05/15/2009)
 05/2112009              208 NOTICE by Soverain Software LLC Joint Notice
                             of Compliance with PR 4-5(d) (Smith, Michael)
                             (Entered: 05/21/2009)
 05/22/2009              209 STIPULATION of Dismissal between Plaintiff
                             Soverain Software LLC and Defendants Systemax



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                                 Inc. and TigerDirect, Inc. by Soverain Software
                                 LLC. (Attachments:# 1 Text of Proposed Order of
                                 Dismissal with Prejudice)( Giannetti, Thomas)
                                 (Entered: 05/22/2009)
 05/26/2009              210 NOTICE by Newegg Inc. of Withdrawal of
                             Dispute as to Certain Claim Terms (Baldauf, Kent)
                             (Entered: 05/26/2009)
 05/26/2009              211 ORDER re 209 Stipulation of Dismissal filed by
                         -

                             Soverain Software LLC. Pltfs complaint against
                             Systemax Inc and TigerDirect Inc is dismissed
                             with prejudice. Systemax's counterclaims against
                             pltf are dismissed with prejudice. Each party shall
                             bear its own attys fees, expenses and costs. Signed
                             by Judge Leonard Davis on 05/26/09. cc:attys 5-
                             26-09(mll, ) (Entered: 05/26/2009)
 05/26/2009                      (Court only)*** Party Systemax Inc., Tiger Direct
                                 Inc terminated per 211 Order of partial dismissal.
                                 (mll, ) (Entered: 05/26/2009)
 05/27/2009               212 NOTICE by Soverain Software LLC, Newegg Inc.
                              ofJoint Agreement re: Remaining Claim Terms
                              (Attachments: # 1 Exhibit 1 -Revised 4-5( d)
                              submission, # 2 Text of Proposed Order -with
                              Appendix A)(Smith, Michael) (Entered:
                              05/27/2009)
 05/27/2009               213 ORDER that pltfand defts pay $12,500.00 each to
                         ---

                              Michael McLemore, the technical consultant to the
                              Court, for services through 5-21-09, for the total
                              amount of $25,000.00. Signed by Judge Leonard
                              Davis on 05/27/09. cc:attys 5-27-09(mll,)
                              (Entered: 05/27 /2009)
 05/28/2009              -
                          214 CLAIM CONSTRUCTION ORDER. The Court
                              having been advised that the parties have agreed on
                              the constructions for the remaining claim terms
                              hereby adopts the parties' agreed constructions as



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                                    set out in Appendix A to this order. Signed by
                                    Judge Leonard Davis on 05/28/09. cc:attys 5-28-09
                                    (mll, ) (Entered: 05/28/2009)
    07/21/2009               215 Unopposed MOTION for Extension of Time to
                                 Complete Discovery by Newegg Inc ..
                                 (Attachments: # 1 Text of Proposed Order)
                                 (Yarbrough, Herbert) (Entered: 07 /21/2009)
    07/22/2009               216 ORDER granting 215 Motion for Extension of
                             -

                                 Time to Complete Discovery. Signed by Judge
                                 Leonard Davis on 07/22/09. cc:attys 7-22-09
                                 (mll,) (Entered: 07 /22/2009)
    07/23/2009               217 Unopposed MOTION for Extension of Time
                                 Regarding Pre-Trial Deadlines by Soverain
                                 Software LLC. (Attachments:# 1 Text of Proposed
                                 Order)(Smith, Michael) (Entered: 07 /23/2009)
    07/24/2009               218 ORDER granting 217 Motion for Extension of
                                 Time regarding pre-trial deadlines. Signed by
                                 Judge Leonard Davis on 07/24/09. cc:attys 7-24-09
                                 (mll,) (Entered: 07 /24/2009)
    07/31/2009               219 Unopposed SEALED PATENT MOTION to
                                 Amend and Supplement Infringement Contentions
                                 by Soverain Software LLC. (Attachments: # 1
                                 Exhibit Exhibit 1 to Motion to Amend and
                                 Supplement Infringement Contentions, # 2 Text of
                                 Proposed Order Proposed Order)(Shentov, Ognjan)
                                 (Entered: 07/31/2009)
    08/03/2009               220 ORDER granting 219 Sealed Patent Motion for
                                 leave to amend/supplement its Infringement
                                 Contentions. It is Ordered that the 7-23-09 Expert
                                 Report of Jack D Grimes, Ph.D. regarding US
                                 Patent Nos 7,272,639; 5,715,314, and 5,909,492 be
                                 deemed as Soverain's amended and supplemented
                                 infringement contentions for defendant N ewegg.
                                 Signed by Judge Leonard Davis on 08/03/09.



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                                  cc:attys 8-03-09(mll, ) (Entered: 08/03/2009)
 08/17/2009               221 MOTION for Summary Judgment by Newegg Inc ..
                              (Attachments: # 1 Statement of Undisputed
                              Material Facts,# 2 Declaration of Kent E. Baldauf,
                              Jr., # 3 Exhibit A, # 4 Exhibit B-1, # 5 Exhibit B-2,
                              # 6 Exhibit C, # 7 Exhibit D, # 8 Exhibit E, # 9
                              Exhibit F, # 10 Exhibit G, # 11 Exhibit H, # 12
                              Exhibit I, # U Exhibit J, # 14 Exhibit K, # 12
                              Exhibit L, # 16 Exhibit M, # 11 Exhibit N, # 18_
                              Text ofProposed Order)(Yarbrough, Herbert)
                              (Entered: 08/17/2009)
 08/24/2009               222 Unopposed MOTION for Extension of Time to
                              File Soverain 's Opposition to New egg's Motion for
                              Summary Judgment ofInvalidity and/or Denial of
                              Priority Claim of the '639 Patent by Soverain
                              Software LLC. (Attachments:# 1 Text of Proposed
                              Order Granting Soverain's Unopposed Motion for
                              an Extension ofTime)(Giannetti, Thomas)
                              (Entered: 08/24/2009)
 08/24/2009               223 Unopposed MOTION to Amend/Correct 216 Order
                              on Motion for Extension of Time to Complete
                              Discovery by Newegg Inc .. (Attachments: # 1 Text
                              of Proposed Order)(Yarbrough, Herbert) (Entered:
                              08/24/2009)
 08/25/2009               224 ORDER granting 222 Motion for Extension of
                              Time. Soverain Software LLC shall file its
                              Opposition to Newegg Inc's Motion for Summary
                              Judgment of Invalidity and/or Denial of Priority
                              Claim of the '639 Patent by 9-11-2009. Signed by
                              Judge Leonard Davis on 08/25/09. cc:attys 8-26-09
                              (mil, ) (Entered: 08/26/2009)
 08/25/2009               225 ORDER granting 223 Motion to Amend/Correct
                              and for extension of time. The discovery deadline
                              in this action is extended through 9-10-2009.
                              Signed by Judge Leonard Davis on 08/25/09.


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                                 cc:attys 8-26-09 (mll, ) (Entered: 08/26/2009)
 08/26/2009               226 Unopposed MOTION for Leave to File Motion for
                              Leave to Supplement Invalidity Contentions by
                              Newegg Inc .. (Attachments: # 1 Text of Proposed
                              Order)(Yarbrough, Herbert) (Entered: 08/26/2009)
 08/27/2009               227 ORDER granting 226 Motion for Leave to File
                              Supplement. Newegg Inc is granted leave to
                              supplement its invalidity contentions and serve the
                              said Second Supplemental Invalidity Contentions
                              on the pltf. Signed by Judge Leonard Davis on
                              08/27/09. cc:attys 8-28-09 (mll,) (Entered:
                              08/28/2009)
 08/28/2009               228 Unopposed MOTION to Amend/Correct 221
                              MOTION for Summary Judgment Newegg's
                              Unopposed Motion to Enter Substitute Statement of
                              Undisputed Material Facts by Newegg Inc ..
                              (Attachments: # 1 Statement of Undisputed
                              Material Facts,# 2 Text of Proposed Order)
                              (Yarbrough, Herbert) (Entered: 08/28/2009)
 08/31/2009               229 ORDER granting 228 Motion to Amend and Enter
                              Substitute Statement of Undisputed Material Facts.
                              Signed by Judge Leonard Davis on 08/31/09.
                              cc:attys 8-31-09(mll, ) (Entered: 08/31/2009)
 09/09/2009              230 First SEALED PATENT MOTION for Partial
                             Summary Judgment ofInfringement of the '492
                             Patent by Soverain Software LLC. (Attachments: #
                             1 Supplement Statement of Undisputed Material
                             Facts,# 2 Exhibit,# 3 Exhibit Declaration of Jack
                             Grimes,# 4 Exhibit Amazon Markman Order,# 5
                             Exhibit Markman Order, # 6 Exhibit Excerpts from
                             Tittle Opening Report,# 7 Exhibit Excerpts from
                             Tittle Deposition Transcript, # 8 Exhibit Excerpts
                             from Tittle Deposition Transcript of 09-02, # 9
                             Exhibit Letter from Newegg Counsel, # 10 Exhibit
                             Transaction January 2008, # 11 Exhibit


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                                 Transaction June 2009, # 12 Exhibit Excerpts from
                                 Wu Deposition Transcript, # _U Exhibit Excerpts
                                 from Wu Deposition Transcript 07-09, # 14
                                 Exhibit RFC 791, # 15_ Exhibit Newegg System
                                 Diagram 1, # 16 Exhibit Newegg System Diagram
                                 2, # 17 Exhibit Newegg FAQ pages, # IE Exhibit
                                 Newegg flowchart,# 19 Exhibit IEEE Dictionary,
                                 # 20 Exhibit Excerpts from Tanenbaum, # 21
                                 Exhibit RFC 2616, # 22 Exhibit Newegg's
                                 Responses to RFAs, # 23 Exhibit Newegg
                                 Supplemental Interrogatory Responses, # 24
                                 Exhibit RFC 1808, # 25 Exhibit Tittel Rebuttal
                                 Report on Infringement,# 26 Text of Proposed
                                 Order Proposed Order)(Shentov, Ognjan) (Entered:
                                 09/09/2009)
 09/11/2009              231 RESPONSE in Opposition re 221 MOTION for
                             Summary Judgment ofinvalidity of the '639 Patent
                             filed by Soverain Software LLC. (Attachments: # 1
                              Soverain's Statement of Genuine Issues, # 2
                             Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit
                             4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9
                             Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12
                             Exhibit 11)(Giannetti, Thomas) (Entered:
                              09/11/2009)
 09/14/2009              232 Trial Witness List by Soverain Software LLC.
                             (Giannetti, Thomas) (Entered: 09/14/2009)
 09/14/2009               233 Trial Witness List by N ewegg Inc .. (Yarbrough,
                              Herbert) (Entered: 09/14/2009)
 09/16/2009               234 Unopposed MOTION for Extension of Time to
                              File Opposition to Soverain Software LLC's
                              Motion for Partial Summary Judgment of
                              Infringement of US. Patent No. 5,909,492 by
                              Newegg Inc .. (Attachments:# 1 Text of Proposed
                              Order)(Yarbrough, Herbert) (Entered: 09/16/2009)
 09/17/2009               235 ORDER granting 234 Motion for Extension of


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                                 Time. Newegg Inc is granted an extension of time
                                 to file its Opposition to Soverain Software LLC's
                                 Motion for Partial Summary Judgment through 9-
                                 28-2009. Signed by Judge Leonard Davis on
                                 09117/09. cc:attys 9-17-09 (mll,) (Entered:
                                 09117/2009)
 09/18/2009              236 REPLY to Response to Motion re 221 MOTION
                             for Summary Judgment Newegg's Reply to Plaintiff
                             Soverain's Opposition to Newegg's Motion for
                             Summary Judgment Regarding the Improper
                             Priority Claim and Invalidity of the '639 Patent
                             filed by Newegg Inc .. (Attachments: # 1 Exhibit A)
                             (Yarbrough, Herbert) (Entered: 09/18/2009)
 09/18/2009              237 FILED IN ERROR. PLEASE DISREGARD.
                             See Corrected Entry 238 . Document sealed
                             because of of Supplemental ResponseNOTICE of
                             Attorney Appearance by Debra R Smith on behalf
                             of Soverain Software LLC (kls, ) Modified on
                             9/21/2009 (gsg). (Entered: 09/18/2009)
 09/18/2009              238 APPLICATION to Appear Pro Hac Vice by
                             Attorney Debra R Smith for Soverain Software
                             LLC. Receipt #6-1-19352. (Attachments: # 1
                             Supplement)(gsg) (Entered: 09/2112009)
 09/25/2009              239 Rebuttal Witness List by Soverain Software LLC.
                             (Giannetti, Thomas) (Entered: 09/25/2009)
 09/25/2009              240 Rebuttal Trial Witness List by Newegg Inc ..
                         -

                             (Yarbrough, Herbert) (Entered: 09/25/2009)
 09/28/2009              241     SUR-REPLY to Reply to Response to Motion re
                                 221 MOTION for Summary Judgment filed by
                                 Soverain Software LLC. (Giannetti, Thomas)
                                 (Entered: 09/28/2009)
 09/28/2009              242 Opposed MOTION to Strike A. Trevor as Expert
                         -

                             Witness, To Preclude E. Tittel's Testimony Based
                             on Trevor Report, and To Exclude Trevor Report


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                                 from Evidence by Soverain Software LLC.
                                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                                 Text of Proposed Order)( Giannetti, Thomas)
                                  (Entered: 09/28/2009)
 09/28/2009               243 Opposed SEALED MOTION To Strike Portions
                              OfNewegg Damages Expert Report Relying On
                              ''Design Around" Memo, Preclude Testimony On
                              Those Portions, And Preclude Newegg From
                              Offering "Design Around" Memo As Evidence by
                              Soverain Software LLC. (Attachments:# 1 Exhibit
                              A, # 2 Exhibit B, # 3 Exhibit C, # 4 Text of
                              Proposed Order)( Giannetti, Thomas) (Entered:
                              09/28/2009)
 09/28/2009              -244 ***DOCUMENT FILED IN ERROR. PLEASE
                              DISREGARD.***
                              SEALED MOTION TO EXCLUDE CERTAIN
                              OPINIONS OF W. CHRISTOPHER BAKEWELL
                              by Soverain Software LLC. (Attachments: # 1
                              Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Text of
                              Proposed Order)(Tipi, Stela) Modified on
                              9/30/2009 (mjc, ). (Entered: 09/28/2009)
 09/28/2009               245 ***DOCUMENT FILED IN ERROR. PLEASE
                              DISREGARD.***
                              SEALED MOTION Defendant's Motion and
                              Supporting Brief to Exclude the Expert Report and
                              Testimony ofJames Nawrocki by Newegg Inc ..
                              (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                              Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit
                              F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                              Text ofProposed Order)(Yarbrough, Herbert)
                              Modified on 9/30/2009 (mjc, ). (Entered:
                              09/28/2009)
 09/28/2009               246 ***DOCUMENT FILED IN ERROR. PLEASE
                              DISREGARD.***
                              SEALED PATENT MOTION Soverain's Daubert



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                                Motion to Preclude Expert Testimony ofEdward
                                Tittel by Soverain Software LLC. (Attachments: #
                                1 Exhibit July 23 Expert Report, # 2 Exhibit
                                August 18 Rebuttal Expert Report, # 3 Exhibit
                                August 28 Supplemental Expert Report, # 4
                                Exhibit Tittel Dep Transcript Vol 1 September 2,
                                2009, # 5 Exhibit Tittel Dep Transcript Vol2,
                                September 2, 2009, # 6 Exhibit Tittel Dep
                                Transcript Vol3, September 3, 2009, # 7 Exhibit
                                Amazon Claim Construction Order adopted by Dkt
                                192, # 8 Exhibit Markman Order May 2009, # 9
                                Exhibit Excerpts from Newegg's April30 2009
                                Invalidity Contentions, # 10 Text of Proposed
                                Order Proposed Order)(Shentov, Ognjan) Modified
                                on 9/30/2009 (mjc, ). (Entered: 09/28/2009)
 09/28/2009              247 SEALED MOTION Defendant's Motion for
                             Partial Summary Judgment ofInvalidity ofthe
                             "Shopping Cart Claims" in US. Patents No.
                             5, 715,314 and No. 5,909,492 by Newegg Inc ..
                             (Attachments:# 1 Statement of Undisputed
                             Material Facts,# 2 Exhibit 1, # 3 Exhibit 2, # 4
                             Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit
                             6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11
                             Exhibit 10, # 12 Exhibit 11, # 11 Exhibit 12, # 14
                             Exhibit 13, # U Exhibit 14, # 16 Exhibit 15, # 11
                             Exhibit 16, # l8_ Exhibit 16A, # 19 Exhibit 17, # 20
                             Exhibit 17A, # 21 Exhibit 18, # 22 Exhibit 19, # 23
                             Exhibit 20, # 24 Text of Proposed Order)
                             (Yarbrough, Herbert) (Entered: 09/28/2009)
 09/28/2009              248 SEALED MOTION Defendant's Motion for
                             Summary Judgment ofNon-Infringement of US.
                             Patent Nos. 7,272,639, 5,715,314, and 5,909,492
                             by Newegg Inc .. (Attachments:# 1 Statement of
                             Undisputed Material Facts, # 2 Exhibit A, # 3
                             Exhibit B, # 4 Exhibit C, # 5 Text of Proposed
                             Order)(Yarbrough, Herbert) (Entered: 09/28/2009)



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 09/28/2009              249 Agreed MOTION for Leave to File Excess Pages
                             With Respect to Summary Judgment Briefing by
                             Newegg Inc .. (Attachments:# 1 Text of Proposed
                             Order)(Yarbrough, Herbert) (Entered: 09/28/2009)
 09/28/2009              250 SEALED RESPONSE to Motion re 230 First
                             SEALED PATENT MOTION for Partial Summary
                             Judgment of Infringement of the '492 Patent filed
                             by Newegg Inc. (Attachments: # 1 Response to
                             Statement of Undisputed Material Facts,# 2
                             Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit
                             D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9
                             Exhibit H, # 10 Exhibit I, # l l Exhibit J)
                             (Yarbrough, Herbert) (Entered: 09/28/2009)
 09/29/2009              251 ORDER granting 249 Motion for Leave to File
                             Excess Pages With Respect to Summary Judgment
                             Briefing. Signed by Judge Leonard Davis on
                             09/29/09. cc:attys 9-30-09(mll, ) (Entered:
                             09/30/2009)
 09/30/2009                      NOTICE of Deficiency regarding the 244, 245,
                                 246 Sealed Motions submitted by Soverain
                                 Software LLC, Newegg Inc. The motions do not
                                 contain a certificate of conference as required per
                                 Local Rule CV-7, and document 245 exceeds the
                                 page limit. Correction should be made by one
                                 business day. (mjc, ) (Entered: 09/30/2009)
 10/01/2009              252 SEALED MOTION Defendant's Daubert Motion
                             and Supporting Brief to Exclude the Opinions of
                             James Nawrocki by Newegg Inc .. (Attachments: #
                             1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                             Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                             G, # 8 Exhibit H, # 9 Exhibit I, # 10 Text of
                             Proposed Order)(Yarbrough, Herbert) (Entered:
                             10/0 112009)
 10/01/2009              253 Opposed SEALED PATENT MOTION TO
                             EXCLUDE EXPERT TESTIMONY OF EDWARD


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                                 R. TITTEL by Soverain Software LLC.
                                 (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit,
                                 # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, #
                                 8 Exhibit,# 9 Exhibit,# 10 Text ofProposed
                                 Order)(Tipi, Stela) (Entered: 10/0 1/2009)
 10/01/2009               254 Opposed SEALED PATENT MOTION TO
                              EXCLUDE CERTAIN OPINIONS OF W
                              CHRISTOPHER BAKEWELL by Soverain
                              Software LLC. (Attachments:# 1 Exhibit,# 2
                              Exhibit,# 3 Exhibit,# 4 Text of Proposed Order)
                              (Tipi, Stela) (Entered: 10/0 1/2009)
 10/05/2009               255 Unopposed MOTION for Extension of Time to
                              File Response/Reply to Defendant Newegg Inc.'s
                              Opposition to Soverain's Motion for Partial
                              Summary Judgment ofInfringement of US Pat
                              5,909,492 (Dkt. 250) by Soverain Software LLC.
                              (Attachments: # 1 Text of Proposed Order
                              Proposed Order)(Shentov, Ognjan) (Entered:
                              10/05/2009)
 10/06/2009               256 ORDER granting 255 Motion for Extension of
                              Time to File Response/Reply re 230 First SEALED
                              PATENT MOTION for Partial Summary
                              Judgment ofInfringement of the '492 Patent;
                              Replies due by 10/13/2009. Signed by Judge
                              Leonard Davis on 10/06/09. cc:attys 10-06-09
                              (mil, ) (Entered: 10/06/2009)
 10/13/2009               257 RESPONSE in Opposition re 24 7 SEALED
                              MOTION Defendant's Motionfor Partial
                              Summary Judgment ofInvalidity of the "Shopping
                              Cart Claims" in US. Patents No. 5, 715, 314 and
                              No. 5,909,492 filed by Soverain Software LLC.
                              (Attachments: # 1 Soverain's Statement of Genuine
                              Issues,# 2 Exhibit A,# 3 Exhibit B, # 4 Exhibit C,
                              # 5 Exhibit D, # 6 Exhibit E, # 1 Exhibit F, # 8
                              Exhibit G, # 9 Exhibit H)(Giannetti, Thomas)



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                                (Entered: 10/13/2009)
 10113/2009              258 SEALED PATENT REPLY to Newegg's
                             Opposition to PATENT Motion re 230 First
                             SEALED PATENT MOTION for Partial
                             Summary Judgment ofInfringement of the '49 2
                             Patent filed by Soverain Software LLC.
                             (Attachments: # 1 Exhibit 25- '492 patent, # 2
                             Exhibit 26 - Appendix G to the '492 patent, # 3
                             Exhibit 27 - Excerpts from the Deposition
                             Transctipt of Edward Tittel)(Shentov, Ognjan)
                             (Entered: 10/13/2009)
 10/13/2009              259 RESPONSE in Opposition re 253 Opposed
                             SEALED PATENT MOTION TO EXCLUDE
                             EXPERT TESTIMONY OF EDWARD R. TITTEL
                             filed by N ewegg Inc .. (Yarbrough, Herbert)
                             (Entered: 10/13/2009)
 10/13/2009              260 RESPONSE in Opposition re 242 Opposed
                             MOTION to Strike A. Trevor as Expert Witness,
                             To Preclude E. Tittel's Testimony Based on Trevor
                             Report, and To Exclude Trevor Report from
                             Evidence filed by Newegg Inc .. (Yarbrough,
                             Herbert) (Entered: 10113/2009)
 10113/2009              261 SEALED RESPONSE to Motion re 243 Opposed
                             SEALED MOTION To Strike Portions OfNewegg
                             Damages Expert Report Relying On "Design
                             Around" Memo, Preclude Testimony On Those
                             Portions, And Preclude Newegg From Offering
                             "Design Around" Memo As Evidence filed by
                             Newegg Inc .. (Yarbrough, Herbert) (Entered:
                             10/13/2009)
 10/13/2009              262 SEALED PATENT Sovreain's Opposition to
                             SEALED PATENT MOTION re 248 SEALED
                             MOTION Defendant's Motion for Summary
                             Judgment ofNon-Infringement of U.S. Patent Nos.
                             7,272,639, 5,715,314, and 5,909,492filed by


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                                 Soverain Software LLC. (Attachments:# 1
                                 Supplement Soverain's Response to Statement of
                                 Facts, # 2 Exhibit Declaration of Jack Grimes,
                                 Ph.D. and supporting documents, # 3 Exhibit
                                 Excerpts from Deposition Transcript of Edward
                                 Tittel, # 4 Exhibit System Diagram, # 5 Exhibit
                                 Excerpts from Deposition Transcript Wu, # 6
                                 Exhibit Sponsored Links,# 1 Exhibit Newegg
                                 emai11, # 8 Exhibit Newegg email2, # 9 Exhibit
                                 Response to RF A, # 10 Exhibit FAQ page)
                                 (Shentov, Ognjan) (Entered: 10113/2009)
 10/13/2009               263 SEALED RESPONSE to Motion re 254 Opposed
                              SEALED PATENT MOTION TO EXCLUDE
                              CERTAIN OPINIONS OF W CHRISTOPHER
                              BAKEWELL filed by Newegg Inc .. (Attachments:
                              # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                              Exhibit D, # 5 Exhibit E, # 6 Exhibit F)
                              (Yarbrough, Herbert) (Entered: 10/13/2009)
 10/13/2009               264 SEALED RESPONSE to Motion re 252 SEALED
                              MOTION Defendant's Daubert Motion and
                              Supporting Brief to Exclude the Opinions ofJames
                              Nawrocki filed by Soverain Software LLC.
                              (Attachments:# 1 Exhibit,# 2 Exhibit)(Tipi, Stela)
                              (Entered: 10/13/2009)
 10/21/2009               265 REPLY to Response to Motion re 248 SEALED
                              MOTION Defendant's Motion for Summary
                              Judgment ofNon-Infringement of U.S. Patent Nos.
                              7,272,639, 5, 715,314, and 5,909,492 filed by
                              Newegg Inc .. (Yarbrough, Herbert) (Entered:
                              10/21/2009)
 10/21/2009               266 REPLY to Response to Motion re 24 7 SEALED
                              MOTION Defendant's Motion for Partial
                              Summary Judgment ofInvalidity of the "Shopping
                              Cart Claims" in U.S. Patents No.5, 715,314 and
                              No. 5,909,492filed by Newegg Inc .. (Yarbrough,



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                                 Herbert) (Entered: 10/2112009)
 10/2112009              267 SEALED REPLY to Response to Motion re 252
                             SEALED MOTION Defendant's Daubert Motion
                             and Supporting Brief to Exclude the Opinions of
                             James Nawrocki filed by Newegg Inc.
                             Attachments: #(1) ExhibitM (Yarbrough, Herbert)
                             (Entered: 10/21/2009)
 10/2112009              268 SUR-REPLY to Reply to Response to Motion re
                             230 First SEALED PATENT MOTION for Partial
                             Summary Judgment ofInfringement ofthe '492
                             Patent filed by Newegg Inc .. (Yarbrough, Herbert)
                             (Entered: 10/2112009)
 10/23/2009              269 SEALED PATENT REPLY to Response to
                             PATENT Motion re 254 Opposed SEALED
                             PATENT MOTION TO EXCLUDE CERTAIN
                             OPINIONS OF W CHRISTOPHER BAKEWELL
                             filed by Soverain Software LLC. (Smith, Debra)
                             (Entered: 10/23/2009)
 10/23/2009              270 SEALED REPLY to Response to Motion re 243
                             Opposed SEALED MOTION To Strike Portions
                             OfNewegg Damages Expert Report Relying On
                             "Design Around" Memo, Preclude Testimony On
                             Those Portions, And Preclude Newegg From
                             Offering ''Design Around" Memo As Evidence filed
                             by Soverain Software LLC. (Giannetti, Thomas)
                             (Entered: 10/23/2009)
 10/23/2009              271 REPLY to Response to Motion re 242 Opposed
                             MOTION to Strike A. Trevor as Expert Witness,
                             To Preclude E. Tittel's Testimony Based on Trevor
                             Report, and To Exclude Trevor Report from
                             Evidence filed by Soverain Software LLC.
                             (Giannetti, Thomas) (Entered: 10/23/2009)
 10/23/2009              272 REPLY to Response to Motion re 253 Opposed
                             SEALED PATENT MOTION TO EXCLUDE



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                                 EXPERT TESTIMONY OF EDWARDR. TITTEL
                                 filed by Soverain Software LLC. (Shentov, Ognjan)
                                 (Entered: 10/23/2009)
 10/29/2009               273 SUR-REPLY to Reply to Response to Motion re
                              247 SEALED MOTION Defendant's Motion for
                              Partial Summary Judgment ofInvalidity of the
                              "Shopping Cart Claims" in US. Patents No.
                              5,715,314 and No. 5,909,492jiled bySoverain
                              Software LLC. (Giannetti, Thomas) (Entered:
                              10/29/2009)
 10/29/2009               274 FILED IN ERROR. PLEASE DISREGARD.
                              ATTORNEY TO REFILE. SEALED PATENT
                              SUR-REPLY to Reply to Response to PATENT
                              Motion re 252 SEALED MOTION Defendant's
                              Daubert Motion and Supporting Brief to Exclude
                              the Opinions ofJames N awrockijiled by Soverain
                              Software LLC. (Tipi, Stela) Modified on
                              10/30/2009 (gsg). (Entered: 10/29/2009)
 10/30/2009               275 SUR-REPLY to Reply to Response to Motion re
                              248 SEALED MOTION Defendant's Motion for
                              Summary Judgment ofNon-Infringement of US.
                              Patent Nos. 7,272,639, 5,715,314, and 5,909,492
                              filed by Soverain Software LLC. (Attachments:# 1
                              Exhibit Golden Hour JMOL Brief, # 2 Exhibit
                              Golden Hour Opposition,# 3 Exhibit GOlden Hour
                              Final Judgment)(Shentov, Ognjan) (Entered:
                               10/30/2009)
 10/30/2009               276 SEALED PATENT SUR-REPLY to Reply to
                              Response to PATENT Motion re 252 SEALED
                              MOTION Defendant's Daubert Motion and
                              Supporting Brief to Exclude the Opinions ofJames
                              Nawrocki filed by Soverain Software LLC. (Smith,
                              Debra) (Entered: 10/30/2009)
 11/02/2009              277 SEALED PATENT SUR-REPLY to Reply to
                         -

                             Response to PATENT Motion re 254 Opposed


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                                 SEALED PATENT MOTION TO EXCLUDE
                                 CERTAIN OPINIONS OF W. CHRISTOPHER
                                 BAKEWELL filed by Newegg Inc. (Attachments:
                                 #(1) Exhibit K)(Yarbrough, Herbert) (Entered:
                                 11102/2009)
 11/02/2009              278 SEALED PATENT SUR-REPLY to Reply to
                             Response to PATENT Motion re 243 Opposed
                             SEALED MOTION To Strike Portions OfNewegg
                             Damages Expert Report Relying On "Design
                             Around" Memo, Preclude Testimony On Those
                             Portions, And Preclude Newegg From Offering
                             "Design Around" Memo As Evidence filed by
                             Newegg Inc. Attachments: #(l)Exhibit 1, #(2)
                             Exhibit 2)(Yarbrough, Herbert) (Entered:
                             11102/2009)
 11103/2009               279 NOTICE of Attorney Appearance by Richard Alan
                              Sayles on behalf ofNewegg Inc. (Sayles, Richard)
                              (Entered: 11103/2009)
 11103/2009              280 NOTICE of Attorney Appearance by Mark Daniel
                             Strachan on behalf ofNewegg Inc. (Strachan,
                             Mark) (Entered: 11103/2009)
 11109/2009               281 ORDER that the parties substantively meet and
                              confer on all limine issues before filing any
                              motions in limine. Motions in limine shall be filed
                              by 1-13-2010 and responses are due by 1-15-2010.
                              The Court also withdraws its general request for
                              any pending motion notebooks or courtesy copies.
                              Signed by Judge Leonard Davis on 11109/09.
                              cc:attys 11-09-09(mll,) (Entered: 11109/2009)
 11112/2009               282 Unopposed MOTION for Leave to File
                              Supplemental Brief in Support ofIts Motion for
                              Summary Judgment ofNoninfringement (Dkt. No.
                              248) by Newegg Inc .. (Attachments:# 1 Exhibit A,
                              # 2 Exhibit B, # 3 Text of Proposed Order)
                              (Yarbrough, Herbert) (Entered: 11/12/2009)


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 11117/2009               283 ORDER granting 282 Motion for Leave to File
                              Supplemental Brief. Signed by Judge Leonard
                              Davis on 11117/09. cc:attys 11-17-09 (mll,)
                              (Entered: 11117/2009)
 11117/2009               284 Joint MOTION for Extension of Time for Parties
                              to Exchange Trial Exhibits by Soverain Software
                              LLC. (Attachments:# 1 Text of Proposed Order)
                              (Smith, Michael) (Entered: 11117/2009)
 11118/2009               285 ORDER granting 284 Motion for Extension of
                              Time. The deadline for parties to exchange their
                              trial exhibits is extended to 12-11-2009. Signed by
                              Judge Leonard Davis on 11118/09. cc:attys 11-18-
                              09 (mll,) (Entered: 11118/2009)
 11118/2009               286 APPLICATION to Appear Pro Hac Vice by
                              Attorney Daniel H Brean for Newegg Inc. (mll,)
                              (Entered: 11118/2009)
 11120/2009               287 MOTION in Limine to Preclude the Testimony of
                              Alexander Trevor at Trial by Soverain Software
                              LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, #
                              3 Exhibit 3, # 4 Exhibit 4)(Giannetti, Thomas)
                              (Entered: 11120/2009)
 11124/2009               288 Filed in Error. Please Disregard. To be Refiled
                              by Attorney. Proposed Pretrial Order (Joint) by
                              Soverain Software LLC, Newegg Inc ..
                              (Attachments: # 1 Exhibit 1 -Plaintiffs Witness
                              List,# 2 Exhibit 2- Defendant's Witness List,# 3
                              Exhibit 3 -Plaintiffs Proposed Jury Instructions,#
                              4 Exhibit 4 -Defendant's Proposed Jury
                              Instructions,# 5_ Exhibit 5- Plaintiffs Proposed
                              Verdict Form,# QExhibit 6- Defendant's
                              Proposed Verdict Form)(Smith, Michael) Changed
                              one word for Exhibit 2 from exhibit to witness.
                              Modified on 11125/2009 (mjc, ). Modified on
                              11125/2009 (gsg). (Entered: 11124/2009)



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 11125/2009               289 Corrects Entry 288 Proposed Pretrial Order
                              (Joint) by Soverain Software LLC, Newegg Inc ..
                              (Attachments: # 1 Exhibit 1 -Plaintiffs Witness
                              List,# 2 Exhibit 2- Defendant's Witness List,# 3
                              Exhibit 3 -Plaintiffs Proposed Jury Instructions,#
                              4 Exhibit 4- Defendant's Proposed Jury
                              Instructions,# 5 Exhibit 5 -Plaintiffs Proposed
                              Verdict Form,# 6 Exhibit 6- Defendant's
                              Proposed Verdict F orm)(Smith, Michael) Modified
                              on 11125/2009 (gsg). (Entered: 11125/2009)
 11127/2009               290 RESPONSE in Opposition re 282 Unopposed
                              MOTION for Leave to File Supplemental Brief in
                              Support ofIts Motion for Summary Judgment of
                              Noninfringement (Dkt. No. 248)Unopposed
                              MOTION for Leave to File Supplemental Brief in
                              Support ofIts Motion for Summary Judgment of
                              Noninfringement (Dkt. No. 248) Soverain's
                              Response to Newegg's Supplemental Brieffiled by
                              Soverain Software LLC. (Shentov, Ognjan)
                              (Entered: 11127/2009)
 12/03/2009               291 RESPONSE in Opposition re 287 MOTION in
                              Limine to Preclude the Testimony ofAlexander
                              Trevor at Tria/filed by Newegg Inc .. (Attachments:
                              # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                              Exhibit D, # 5 Exhibit E)(Yarbrough, Herbert)
                              (Entered: 12/03/2009)
 12114/2009              292 REPLY to Response to Motion re 287 MOTION in
                             Limine to Preclude the Testimony ofAlexander
                             Trevor at Trial filed by Soverain Software LLC.
                             (Giannetti, Thomas) (Entered: 12114/2009)
 12/14/2009               293 NOTICE by Soverain Software LLC of
                              Compliance with Paragraphs 6(B) and 6(C) of the
                              Discovery Order (Giannetti, Thomas) (Entered:
                              12/14/2009)
 12/14/2009              294 NOTICE by Soverain Software LLC ofRequest for


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                                 Daily Transcripts and Real Time Reporting of
                                 Trial Proceedings (Giannetti, Thomas) (Entered:
                                 12114/2009)
 12115/2009               295 NOTICE of Disclosure by Newegg Inc. (Sayles,
                              Richard) (Entered: 12115/2009)
 12/21/2009               296 SUR-REPLY to Reply to Response to Motion re
                              287 MOTION in Limine to Preclude the Testimony
                              ofAlexander Trevor at Trial filed by Newegg Inc ..
                              (Yarbrough, Herbert) (Entered: 12/21/2009)
 12/23/2009               297 NOTICE of Disclosure by Soverain Software LLC
                              of Compliance with Paragraph 2(A) of the
                              Discovery Order (Giannetti, Thomas) (Entered:
                              12/23/2009)
 12/29/2009               298 NOTICE of Disclosure by Newegg Inc. re:
                              Rebuttal Deposition Designation (Sayles, Richard)
                              (Entered: 12/29/2009)
 01/04/2010               299 NOTICE of Disclosure by Soverain Software LLC
                              of Compliance with Paragraph 2(A) of the
                              Discovery Order (Giannetti, Thomas) (Entered:
                              01/04/201 0)
 01105/2010               300 NOTICE of Disclosure by Newegg Inc. Re:
                              Objections to Rebuttal Deposition Designations
                              (Sayles, Richard) (Entered: 01/05/2010)
 01109/2010               301 NOTICE of Disclosure by Soverain Software LLC
                              Notice of Compliance (Giannetti, Thomas)
                              (Entered: 01/09/2010)
 0111112010               302 NOTICE of Disclosure by Newegg Inc. Re:
                              Objections to Plaintiffs Exhibits (Sayles, Richard)
                              (Entered: 01111/2010)
 01111/2010               303 Agreed MOTION for Leave to File Excess Pages
                              for Motion in Limine Briefing by Soverain
                               Software LLC. (Attachments: # 1 Text of Proposed
                              Order)(Giannetti, Thomas) (Entered: 01111/2010)


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 01113/2010               304 ORDER granting 303 Motion for Leave to File
                              Excess Pages with Respect to Motion in Limine
                              Briefing. Signed by Judge Leonard Davis on
                              01/13/10. cc:attys 1-13-10(mll,) (Entered:
                              01/13/2010)
 01113/2010               305 MOTION in Limine Soverain's Motions in Limine
                              Nos. 1 - 29 by Soverain Software LLC.
                              (Attachments: # 1 Attachment 1: Brief in Support
                              ofSoverain's Motion in Limine No. 20, # 2
                              Attachment 2: Brief in Support of Soverain's
                              Motion in Limine No. 22, # 3 Attachment 3: Brief
                              in Support of Soverain's Motion in Limine No. 23,
                              # 4 Text ofProposed Order)(Giannetti, Thomas)
                              (Entered: 01113/201 0)
 01/13/2010               306 Opposed SEALED PATENT MOTION In Limine
                              by Newegg Inc .. (Attachments: # 1 Exhibit A, # 2
                              Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit
                              4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9
                              Text of Proposed Order)(Sayles, Richard)
                              (Entered: 0 1I 13/2010)
 01114/2010               307 NOTICE of Attorney Appearance by Claudia
                              Wilson Frost on behalf ofNewegg Inc. (Frost,
                              Claudia) (Entered: 01/14/2010)
 01115/2010               308 NOTICE of Attorney Appearance by Jeremy Jason
                              Gaston on behalf ofNewegg Inc. (Gaston, Jeremy)
                              (Entered: 01/15/2010)
 01115/2010               309 RESPONSE in Opposition re 306 Opposed
                              SEALED PATENT MOTION In Limine filed by
                              Soverain Software LLC. (Giannetti, Thomas)
                              (Entered: 01/15/2010)
 01115/2010               310 SEALED PATENT RESPONSE to SEALED
                              PATENT MOTION re 305 MOTION in Limine
                              Soverain's Motions in Limine Nos. 1-29 filed by
                              Newegg Inc .. (Attachments: # 1 Exhibit 1, # 2



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                                 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                                 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                                 Exhibit 9, # 10 Text ofProposed Order)(Sayles,
                                 Richard) (Entered: 01/15/2010)
 01119/2010               311 NOTICE by Soverain Software LLC Plaintiff
                              Soverain Software LLC's Trial Time Requests
                              (Giannetti, Thomas) (Entered: 01/19/2010)
 01/19/2010               312 Joint MOTION Submission of Juror Questionnaire
                              by Soverain Software LLC. (Attachments: # 1
                              [Proposed] Joint Juror Questionnaire,# 2 Text of
                              Proposed Order [Proposed] Order for Joint Juror
                              Questionnaire)(Giannetti, Thomas) (Entered:
                              01119/2010)
 01119/2010               313 NOTICE by Newegg Inc. Defendant Newegg Inc.'s
                              Estimate of Time (Sayles, Richard) (Entered:
                              01/19/2010)
 01/21/2010               322 1.21.2010 Minute Entry (Pretrial): for
                              proceedings held before Judge Leonard Davis:
                              Final Pretrial Conference held on 1121/2010.
                              (Court Reporter Shea Sloan.) (rlf, ) (Entered:
                              02/05/201 0)
 01/23/2010               314 NOTICE by Newegg Inc. of Compliance with 35
                              USC 282 (Yarbrough, Herbert) (Entered:
                              01/23/2010)
 01/25/2010               315 ORDER denying 221 Motion for Summary
                              Judgment; denying as moot 242 Motion to Strike
                              and Preclude Expert Trial Testimony and
                              Evidence; denying 243 Sealed Motion to Strike
                              Portions ofNewegg's Damages Expert Report;
                              denying 24 7 Sealed Motion for Partial Summary
                              Judgment; denying 252 Sealed Motion to Exclude
                              the Opinions of James Nawrocki; denying 253
                              Sealed Patent Motion to Exclude Expert Testimony
                              of Edward R Tittel; denying 254 Sealed Patent



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                                 Motion to Exclude Certain Opinions of W
                                 Christopher Bakewell; denying 287 Motion in
                                 Limine; granting 312 Motion Requesting
                                 Submission of a Juror Questionnaire: The first
                                 page of instructions will be read aloud to the
                                 potential jurors and the second page of questions
                                 will be handed to and filled out by the potential
                                 jurors prior to voir dire. The Court CARRIES 230
                                 Motion for Partial Summary Judgment; and
                                 CARRIES 248 Motion for Summary Judgment.
                                 The Court GRANTS in part, DENIES in part and
                                 CARRIES in part 305 Motion in Limine; and
                                 CARRIES 306 Motion in Limine. The parties shall
                                 meet and confer on all motions in limine not ruled
                                 on and notify the Court of any issues that need to
                                 be resolved by 1-28-2010. If parties cannot resolve
                                 all the issues, the Court will hear them before jury
                                 selection on 2-01-2010. Parties shall meet and
                                 confer on the Court's Charge and submit a
                                 proposed Charge to the Court by 2-03-2010. The
                                 Court will allow the parties 30 minutes for voir
                                 dire, 30 minutes for opening statements, 12 hours
                                 for direct and cross examinations, and 60 minutes
                                 for closing arguments. Signed by Judge Leonard
                                 Davis on 01125/10. cc:attys 1-25-10 (mil, )
                                 (Entered: 01125/2010)
 01/26/2010               316 ORDER that this case is set for jury trial on
                              February 1-2, 2010; February 8-9, 2010; and
                              February 16-17, 2010. Trial will commence
                              immediately following jury selection on 2-01-
                              2010. Signed by Judge Leonard Davis on 01/26110.
                              cc:attys 1-26-IO(mll,) (Entered: 01126/2010)
 01127/2010               317 Joint MOTION to Continue the Trial Date by
                              Soverain Software LLC. (Attachments: # 1 Text of
                              Proposed Order Proposed Order, # 2 Supplement
                              Declaration of Michael Ian Shamos)(Adamo,



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                                  Kenneth) (Entered: 01/27/2010)
 01/27/2010               318 ORDER granting 317 Motion to Continue Trial
                              Date. The Court sets this case for jury selection on
                              4-19-2010 at 9:00 a.m., with trial to commence on
                              4-26-2010 at 9:00 a.m. Signed by Judge Leonard
                              Davis on 01/27/10. cc:attys 1-28-10 (mil,)
                              (Entered: 01/28/201 0)
 01/27/2010                       Jury Selection reset for 4/19/2010 09:00AM before
                                  Judge Leonard Davis. Jury Trial reset for
                                  4/26/2010 09:00 AM before Judge Leonard Davis.
                                  (per 318 Order) (mil, ) (Entered: 01/28/201 0)
 01/28/2010               319 Agreed MOTION To Substitute Prior Order of
                              Dismissal Without Prejudice with Order of
                              Dismissal With Prejudice by Soverain Software
                              LLC. (Attachments: # 1 Text of Proposed Order
                              Order of Dismissal with Prejudice)(Giannetti,
                              Thomas) (Entered: 01/28/2010)
 01/28/2010               320 NOTICE by Soverain Software LLC ofJoint
                              Certificate of Conference in Compliance with the
                              Court's Order to Meet and Confer on the Parties'
                              Motions in Limine (Satine, Barry) (Entered:
                              01/28/2010)
 01/29/2010               321 ORDER granting 319 Motion to Dismiss with
                              Prejudice. Pltfs complaint against Zappos is now
                              dismissed with prejudice. Zappos's counterclaims
                              against pltf are now dismissed with prejudice. Each
                              party shall bear its own attys' fees, expenses and
                              costs. Signed by Judge Leonard Davis on 01/29110.
                              cc:attys 1-29-10 (mil,) (Entered: 01/29/2010)
 02/15/2010               323 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT of Pretrial Conference held on
                              1/21/10 before Judge Leonard Davis. Court
                              Reporter: Shea Sloan,
                              shea_sloan@txed.uscourts.gov. 90 pages.



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                                 NOTICE RE REDACTION OF
                                 TRANSCRIPTS: The parties have seven (7)
                                 business days to file with the Court a Notice of
                                 Intent to Request Redaction of this transcript. If
                                 no such Notice is filed, the transcript will be
                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.
                                 The policy is located on our website at
                                 www. txed.uscourts.gov

                                 Transcript may be viewed at the court public
                                 terminal or purchased through the Court Reporter
                                 before the deadline for Release of Transcript
                                 Restriction. After that date it may be obtained
                                 through PACER.. Redaction Request due
                                 3111/2010. Redacted Transcript Deadline set for
                                 3/22/2010. Release of Transcript Restriction set for
                                 5119/2010. (sms,) (Entered: 02115/2010)
 03/01/2010               324 Emergency SEALED MOTION Emergency
                              Opposed Motion to DisqualifY Jones Day by
                              Newegg Inc .. (Attachments: # 1 Exhibit A -
                              Declaration of Lee Cheng,# 2 Exhibit B-
                              Declaration of Mira Wolff, # 3 Text of Proposed
                              Order)(Yarbrough, Herbert) (Entered: 03/01/2010)
 03/02/2010               325 ORDER re 324 Emergency SEALED MOTION
                              Emergency Opposed Motion to DisqualifY Jones
                              Day filed by Newegg Inc. Response to Motion is
                              due 3-05-2010 at 12:00 p.m. Reply is due 3-08-
                              2010 at 12:00 p.m. Surreply is due 3-09-2010 at
                              8:00 a.m. Signed by Judge Leonard Davis on
                              03/02/10. cc:attys 3-02-10(mll,) (Entered:
                              03/02/201 0)
 03/04/2010               326 Opposed MOTION to Strike The Belatedly-
                              Produced CompuServe Documents, The
                              CompuServe Manuals As Corroborating Evidence,
                              And Trevor's Uncorroborated Testimony by


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                                  Soverain Software LLC. (Attachments: # 1 Text of
                                  Proposed Order)(Giannetti, Thomas) (Entered:
                                  03/04/2010)
 03/05/2010               327 SEALED RESPONSE to Motion re 324
                              Emergency SEALED MOTION Emergency
                              Opposed Motion to Disqualify Jones Day filed by
                              Soverain Software LLC. (Attachments: # 1 Exhibit
                              A Declaration of Mark A. Finkelstein, # 2 Exhibit
                              1 to the Declaration of Mark A. Finkelstein,# 3
                              Exhibit 2 to the Declaration of Mark A.
                              Finkelstein, # 4 Exhibit 3 to the Declaration of
                              Mark A. Finkelstein, # 5 Exhibit 4 to the
                              Declaration of Mark A. Finkelstein, # 6 Exhibit 5
                              to the Declaration of Mark A. Finkelstein,# 7
                              Exhibit 6 to the Declaration of Mark A.
                              Finkelstein,# 8 Exhibit 7 to the Declaration of
                              Mark A. Finkelstein, # 9 Exhibit 8 to the
                              Declaration of Mark A. Finkelstein (See #
                              27Replacement Exhibit), # 10 Exhibit B
                              Declaration of Marc K. Callahan, # 11 Exhibit 1 to
                              the Declaration of Marc K. Callahan,# 12 Exhibit
                              2 to the Declaration of Marc K. Callahan,# ll
                              Exhibit 3 to the Declaration of Marc K. Callahan, #
                              14 Exhibit 4 to the Declaration of Marc K.
                              Callahan, # 12 Exhibit 5 to the Declaration of Marc
                              K. Callahan, # 16 Exhibit 6 to the Declaration of
                              Marc K. Callahan, # 17 Exhibit 7 to the
                              Declaration of Marc K. Callahan, # J 8 Exhibit 8 to
                              the Declaration of Marc K. Callahan, # 12 Exhibit
                              9 to the Declaration of Marc K. Callahan, # 20
                              Exhibit 10 to the Declaration of Marc K. Callahan,
                              # 21 Exhibit C Katharine A. Wolanyk Declaration,
                              # 22 Exhibit D Kenneth R. Adamo Declaration, #
                              23 Exhibit E Thomas L. Giannetti Declaration, #
                              24 Exhibit F Barry R. Satine Declaration,# 25
                              Exhibit G Jennifer Seraphine Declaration, # 26
                              Exhibit H Ognjan V. Shentov Declaration)(Adamo,


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                                 Kenneth) (Additional attachment(s) added on
                                 3/9/2010: # 27 Exhibit 8 to the Declaration of
                                 Mark A. Finkelstein) (mll, ). Modified on 3/9/2010
                                 per 336 Order (mll, ). (Entered: 03/05/2010)
 03/05/2010               328 Unopposed MOTION for Leave to File Excess
                              Pages by Soverain Software LLC. (Attachments: #
                              1 Text of Proposed Order)(Smith, Michael)
                              (Entered: 03/05/201 0)
 03/05/2010               329 Unopposed SEALED MOTION To Enter
                              Substitute Exhibit 8 to Declaration ofMark A.
                              Finkelstein by Soverain Software LLC.
                              (Attachments:# 1 Exhibit 8 to the Declaration of
                              Mark A. Finkelstein,# 2 Text of Proposed Order)
                              (Satine, Barry) (Entered: 03/05/2010)
 03/08/2010               330 SEALED REPLY to Response to Motion re 324
                              Emergency SEALED MOTION Emergency
                              Opposed Motion to Disqualify Jones Day filed by
                              N ewegg Inc .. (Yarbrough, Herbert) (Entered:
                              03/08/2010)
 03/08/2010               331 ORDER granting 328 Motion for Leave to File
                              Excess Pages. Signed by Judge Leonard Davis on
                              03/08/10. cc:attys 3-08-10 (mll, ) (Entered:
                              03/08/2010)
 03/08/2010               332 Unopposed MOTION for Leave to File Excess
                              Pages on New egg's Reply in Support ofMotion to
                              Disqualify Jones Day by Newegg Inc ..
                              (Attachments: # 1 Text of Proposed Order)
                              (Yarbrough, Herbert) (Entered: 03/08/201 0)
 03/08/2010               333 Unopposed MOTION for Leave to File Excess
                              Pages for Soverain 's surreply to N ewegg's
                              Emergency Opposed Motion to Disqualify Jones
                              Day by Soverain Software LLC. (Attachments: # 1
                              Text of Proposed Order)(Giannetti, Thomas)
                              (Entered: 03/08/2010)



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 03/09/2010               334 SEALED SURREPLYin Support of Soverain's
                              RESPONSE to Motion re 324 Emergency
                              SEALED MOTION Emergency Opposed Motion
                              to DisqualifY Jones Day filed by Soverain Software
                              LLC. (Attachments: # 1 Exhibit I)(Adamo,
                              Kenneth) (Entered: 03/09/2010)
 03/09/2010               335 ORDER Setting Hearing on Motion 324
                              Emergency SEALED MOTION Emergency
                              Opposed Motion to DisqualifY Jones Day : Motion
                              Hearing set for 3117/2010 01 :30 PM before Judge
                              Leonard Davis. Signed by Judge Leonard Davis on
                              03/09/10. cc:attys 3-09-1 O(mll, ) (Entered:
                              03/09/201 0)
 03/09/2010               336 ORDER granting 329 Sealed Motion to Substitute
                              Exhibit. Signed by Judge Leonard Davis on
                              03/08/10. cc:attys 3-09-10 (mil,) Modified on
                              3/9/2010 (mil,). (Entered: 03/09/2010)
 03/09/2010               337 ORDER granting 332 Motion for Leave to File
                              Excess Pages. Signed by Judge Leonard Davis on
                              03/08/10. cc:attys 3-09-10 (mil,) (Entered:
                              03/09/2010)
 03/09/2010               338 ORDER granting 333 Motion for Leave to File
                              Excess Pages. Signed by Judge Leonard Davis on
                              03/09/10. cc:attys 3-09-10 (mil,) (Entered:
                              03/09/2010)
 03/10/2010               339 ORDER re 335 Order Setting Hearing on Motion.
                              The Court expects the principal declarants to be
                              present and available for direct and cross
                              examination regarding their declarations. Parties
                              are directed to meet and confer in person or
                              telephone to determine if either party expects any
                              other declarants to be present and available to
                              testify at the evidentiary hearing. Should any
                              disputes arise, parties shall notify the Court by 3-
                              12-2010 at 12:00 p.m. Signed by Judge Leonard


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                                 Davis on 03/10/10. cc:attys 3-10-1 O(mll,)
                                 (Entered: 03/10/201 0)
 03111/2010               340 APPLICATION to Appear Pro Hac Vice by
                              Attorney Thomas Demitrack for Soverain Software
                              LLC. (mll, ) (Entered: 031111201 0)
 03/12/2010               341 APPLICATION to Appear Pro Hac Vice by
                              Attorney George T Manning for Soverain Software
                              LLC. (mll,) (Entered: 03/12/2010)
 03115/2010               342 Sealed Document- Joint Stipulation Regarding
                              Evidentiary Hearing on Attorney Disqualification
                              Issue. (Frost, Claudia) (Entered: 03115/2010)
 03116/2010               343 NOTICE by Soverain Software LLC of
                              Compliance with Plaintiffs Objections to Newegg's
                              Supplemental and Second Supplemental Exhibit
                              Lists (Giannetti, Thomas) (Entered: 03/16/201 0)
 03117/2010               349 3.17.10 Minute Entry(Evidentiary Hrg): for
                              proceedings held before Judge Leonard Davis:
                              Motion Hearing held on 3/17/2010 re 324
                              Emergency SEALED MOTION Emergency
                              Opposed Motion to DisqualifY Jones Day filed by
                              Newegg Inc .. (Court Reporter Shea Sloan.) (rlf, )
                              (Entered: 03/24/201 0)
 03118/2010               344 ORDER REGARDING EXHIBITS. Signed by
                              Judge Leonard Davis on 03/17110. cc:attys 3-18-10
                              (mll,) (Entered: 03/18/2010)
 03118/2010               345 MEMORANDUM OPINION AND ORDER
                              denying re 324 Emergency SEALED MOTION
                              Emergency Opposed Motion to DisqualifY Jones
                              Day filed by Newegg Inc. Signed by Judge
                              Leonard Davis on 3/18/2010. (kls, ) (Entered:
                              03/19/201 0)
 03119/2010               346 SEALED RESPONSE to Motion re 326 Opposed
                              MOTION to Strike The Belatedly-Produced



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                                 CompuServe Documents, The CompuServe
                                 Manuals As Corroborating Evidence, And Trevor's
                                 Uncorroborated Testimony filed by Newegg Inc.
                                 (Attachments: #(1) Exhibit A, #2) Exhibit B, #(3)
                                 Exhibit C, #(4) Exhibit D, #(5) Exhibit E)
                                 (Yarbrough, Herbert) (Entered: 03/19/2010)
 03/24/2010              347 Exhibit List: Plaintiffs Exhibits Admitted During
                             3.17.10 Hearing. (rlf,) (Entered: 03/24/2010)
 03/24/2010              348 Exhibit List: Defendant Newegg's Exhhibits
                             Admitted During 3.17.10 Hearing. (rlf,) (Entered:
                             03/24/2010)
 03/24/2010                      (Court only) ***Staffnotes: PLAINTIFF'S
                                 SEALED EXHIBITS from 3.17 .1 0 Hearing Stored
                                 in Vault. Remaining Exhibits stored in Exhibit
                                 Locker in Clerk's Office. (rlf,) (Entered:
                                 03/24/2010)
 03/26/2010               350 SEALED REPLY to Opposition 346 to Opposed
                              Motion 326 to Strike The Belatedly-Produced
                              CompuServe Documents, The CompuServe
                              Manuals As Corroborating Evidence, And Trevor's
                              Uncorroborated Testimony filed by Soverain
                              Software LLC. (Attachments: # 1 Exhibit 1 -
                              Shamos Tr., # 2 Exhibit 2- Trevor Tr.)(Giannetti,
                              Thomas) (Entered: 03/26/2010)
 04/05/2010               351    SEALED PATENT SUR-REPLY to Reply to
                                 Response to PATENT Motion re 326 Opposed
                                 MOTION to Strike The Belatedly-Produced
                                 CompuServe Documents, The CompuServe
                                 Manuals As Corroborating Evidence, And Trevor's
                                 Uncorroborated Testimony filed by Newegg Inc.
                                 (Attachments: #(1) Exhibit A, #(2) Exhibit B)
                                 (Yarbrough, Herbert) (Entered: 04/05/2010)
 04/14/2010                      E-NOTICE of Hearing on Motion 306 Opposed
                                 SEALED PATENT MOTION In Limine, 326



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                                 Opposed MOTION to Strike The Belatedly-
                                 Produced CompuServe Documents, The
                                 CompuServe Manuals As Corroborating Evidence,
                                 And Trevor's Uncorroborated Testimony, 305
                                 MOTION in Limine Soverain's Motions in Limine
                                 Nos. 1 - 29 : Motion Hearing set for 4/19/2010
                                 immediately after Jury Selection before Judge
                                 Leonard Davis. (rlf,) (Entered: 04/14/2010)
 04/14/2010               352 ORDER for the parties to meet, confer and submit
                              a proposed Charge to the Court by 4/21/201 0.
                              Signed by Judge Leonard Davis on 4/14/10. (mjc,)
                              (Entered: 04/14/201 0)
 04/16/2010               353 ORDER that parties meet and confer on a claim
                              construction chart to be submitted to the jurors and
                              for use at trial containing the Court's constructions
                              of the terms in the 314, 492, and 639 patents.
                              Signed by Judge Leonard Davis on 04/16/10.
                              cc:attys 4-16-1 O(mll, ) (Entered: 04/16/201 0)
 04/16/2010               354 Proposed Jury Instructions by Soverain Software
                              LLC. (Attachments:# 1 Exhibit A Joint Proposed
                              Charge of the Court)(Giannetti, Thomas) (Entered:
                              04/16/201 0)
 04/19/2010               355 4.19.10 Minute Entry (Jury Selection): for
                              proceedings held before Judge Leonard Davis: Jury
                              Selection held on 4/19/2010. (Court Reporter Shea
                              Sloan.) (rlf,) (Entered: 04/19/2010)
 04/19/2010               356 Sealed Document. Jury Questionnaires (Pages 1-8)
                              (Attachments: # 1- Questionnaires (Pages 8-17), #
                              2 - Questionnaires (Pages 18-25))(rlf, ) (Entered:
                              04/19/2010)
 04/19/2010               357 4.19.10 Minute Entry (Motion Hearing): for
                              proceedings held before Judge Leonard Davis:
                              Motion Hearing held on 4/19/2010 re 306 Opposed
                              SEALED PATENT MOTION In Limine filed by



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                                 Newegg Inc., 305 MOTION in Limine Soverain's
                                 Motions in Limine Nos. 1 - 29 filed by Soverain
                                 Software LLC, 326 Opposed MOTION to Strike
                                 The Belatedly-Produced CompuServe Documents,
                                 The CompuServe Manuals As Corroborating
                                 Evidence, And Trevor's Uncorroborated Testimony
                                 filed by Soverain Software LLC. (Court Reporter
                                 Shea Sloan.) (rlf,) (Entered: 04/19/2010)
 04/20/2010               358 ORDER granting in part and denying in part 326
                              Motion to Exclude the Belatedly-Produced
                              CompuServe Documents, the CompuServe
                              Manuals as Corroborating Evidence, and Trevor's
                              Uncorroborated Testimony; granting in part and
                              denying in part 305 Motion in Limine --
                              GRANTED as to matters 1,9, 14, and 15; DENIED
                              as to matters 8, 12, and 13; denying 306 Sealed
                              Patent Motion in Limine as to matter 2. Signed by
                              Judge Leonard Davis on 04/20/10. cc:attys 4-20-10
                              (mil, ) (Entered: 04/20/201 0)
 04/2112010               359 JOINT SUBMISSION OF CLAIM
                              CONSTRUCTION CHART filed by Soverain
                              Software LLC. (Attachments: Exhibit A: Claim
                              Construction Chart)(Giannetti, Thomas) (Entered:
                              04/2112010)
 04/2112010               360 Proposed Jury Instructions by Soverain Software
                              LLC. (Attachments: # 1 Exhibit A: REVISED
                              JOINT PROPOSED CHARGE OF THE COURT)
                              (Giannetti, Thomas) (Entered: 04/2112010)
 04/26/2010               361    4.26.10 Minute Entry (Jury Trial- Day 1): for
                                 proceedings held before Judge Leonard Davis: Jury
                                 Trial held on 4/26/2010. (Court Reporter Judy
                                 Werlinger.) (rlf, ) (Entered: 04/26/201 0)
 04/27/2010               362 4.27.10 Minute Entry (Jury Trial -Day 2): for
                              proceedings held before Judge Leonard Davis: Jury
                              Trial held on 4/27/2010. (Court Reporter Judy


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                                 Werlinger.) (rlf,) (Entered: 04/27/2010)
 04/28/2010              363 TRIAL BRIEF Soverain 's Memorandum in
                             Support ofAdmitting Summary Charts and Slides
                             Prepared by Soverain 's Expert Jack Grimes by
                             Soverain Software LLC. (Adamo, Kenneth)
                             (Entered: 04/28/2010)
 04/28/2010               372 4.28.10 Minute Entry (Jury Trial- Day 3): for
                              proceedings held before Judge Leonard Davis: Jury
                              Trial held on 4/28/2010. (Court Reporter Judy
                              Werlinger.) (rlf, ) (Entered: 04/3 0/2 0 10)
 04/29/2010               364 MOTION to Strike The Trevor Trial Testimony by
                              Soverain Software LLC. (Adamo, Kenneth)
                              (Additional attachment(s) added on 5/5/2010: # 1
                              Text of Proposed Order) (mjc, ). (Entered:
                              04/29/201 0)
 04/29/2010              365 TRIAL BRIEF Regarding N oninfringing
                             Alternatives by Newegg Inc .. (Strachan, Mark)
                             (Entered: 04/29/201 0)
 04/29/2010              366 MOTION for Judgment as a Matter ofLaw by
                             Soverain Software LLC. (Adamo, Kenneth)
                             (Additional attachment(s) added on 5/5/2010: # 1
                             Text of Proposed Order) (kls, ). (Entered:
                             04/29/2010)
 04/29/2010               367 MOTION for Judgment as a Matter of Law on
                              Non-Infringement by Newegg Inc .. (Attachments:
                              # 1 Text of Proposed Order)(Strachan, Mark)
                              (Entered: 04/29/201 0)
 04/29/2010              368 MOTION for Judgment as a Matter of Law on
                             Invalidity by Newegg Inc .. (Attachments: # 1 Text
                             of Proposed Order)(Strachan, Mark) (Entered:
                             04/29/201 0)
 04/29/2010               362 MOTION for Judgment as a Matter ofLaw on
                              Damages by Newegg Inc .. (Attachments:# 1 Text



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                                  of Proposed Order)(Strachan, Mark) (Entered:
                                  04/29/2010)
 04/29/2010               370 ***DISREGARD ENTRY - FILED IN ERROR
                              - TO BE REFILED***

                                 MOTION for Judgment as a Matter ofLaw,
                                 Supplemental Brief in Suport of, by Soverain
                                 Software LLC. (Adamo, Kenneth) Modified on
                                 4/30/2010 (kls, ). (Entered: 04/29/2010)
 04/29/2010               371 Proposed Jury Instructions by Newegg Inc ..
                              (Strachan, Mark) (Entered: 04/29/201 0)
 04/29/2010               373 4.29.10 Minute Entry (Jury Trial- Day 4): for
                              proceedings held before Judge Leonard Davis: Jury
                              Trial held on 4/29/2010. (Court Reporter Judy
                              Werlinger.) (rlf,) (Entered: 04/30/2010)
 04/30/2010                       ***FILED IN ERROR. Document #370 Brief
                                  filed as Motion PLEASE IGNORE.***

                                  (kls, ) (Entered: 04/30/201 0)
 04/30/2010               374 4.30.2010 Minute Entry (Jury Trial - Day 5): for
                              proceedings held before Judge Leonard Davis: Jury
                              Trial completed on 4/30/2010. (Court Reporter
                              Judy Werlinger.) (rlf,) (Entered: 04/30/2010)
 04/30/2010               375 SEALED Jury Notes. (rlf,) (Entered: 04/30/2010)
 04/30/2010               376 JURY VERDICT. (rlf,) (Entered: 04/30/2010)
                          ~




 04/30/2010               377 Sealed Document. JURY VERDICT IN ITS
                              ENTIRETY. (rlf,) (Entered: 04/30/2010)
 04/30/2010               378 ORDER denying 364 Motion to Strike 364
                              MOTION to Strike The Trevor Trial Testimony.
                              Signed by Judge Leonard Davis on 4/30/2010.
                              (gsg) (Entered: 04/30/201 0)
 04/30/2010               379 BRIEF filed Supplemental Brief in Support of



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                                 Motion for Judgment as a Matter ofLaw by
                                 Soverain Software LLC. (Adamo, Kenneth)
                                 Modified on 5/5/2010 (kls, ). ***(Corrects Entry
                                 #370)

                                 (Entered: 04/30/2010)
 04/30/2010               436 Jury Instructions. (rlf, ) (Entered: 08/24/201 0)
 05/06/2010               380 Exhibit Lists Filed by Soverain Software LLC
                              during Jury Trial (4.26.2010 - 4.30.201 0):
                              Main Document: Plaintiffs Exhibit List 1A
                              Attachments: # 1- Plaintiffs Exhibit List 1B;
                              # 2 -Plaintiffs Exhibit List 2;
                              # 3 -Plaintiffs Exhibit List 3;
                              # 4 -Plaintiffs Exhibit List- Final)(rlf, ) (Entered:
                              05/06/2010)
 05/06/2010               381 Exhibit List Filed by Newegg Inc. during Trial
                              (4.26.2010- 4.30.2010):
                              Main Document: Defendant's Exhibit List 1
                              Attachments: # 1- Defendant's Exhibit List 2;
                              # 2- Defendant's Exhibit List 3;
                              # 3 -Defendant's Exhibit List- Final(rlf,)
                              (Entered: 05/06/201 0)
 05/06/2010               382 ORDER that all post-verdict motions be filed by 5-
                              24-2010; responses by 6-07-2010; replies by 6-14-
                              2010; and surreplies by 6-21-2010. The Court sets
                              all post verdict motions for hearing on 6-29-2010
                              at 9:00 a.m. Signed by Judge Leonard Davis on
                              05/06/10. cc:attys 5-07-10(mll,) (Entered:
                              05/07/2010)
 05/06/2010                      Post-Verdict Motion Hearing set for 6/29/2010
                                 09:00AM before Judge Leonard Davis. (mll,)
                                 (Entered: 05/07/201 0)
 05/06/2010               383 ORDER appointing Mike Patterson as Mediator in
                              this case. The mediation session should be



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                                  conducted before 5-24-2010. Signed by Judge
                                  Leonard Davis on 05/06/10. cc:attys 5-07-lO(mll,)
                                  (Entered: 05/07/2010)
 05/06/2010               384 ORDER granting in part and denying in part 366
                              Motion for Judgment as a Matter of Law; denying
                              367 Motion for Judgment as a Matter of Law;
                              denying 368 Motion for Judgment as a Matter of
                              Law; denying 369 Motion for Judgment as a
                              Matter of Law. Signed by Judge Leonard Davis on
                              05/06110. cc:attys 5-07-10(mll,) (Entered:
                              05/071201 0)
 05/07/2010               385 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT of Voir Dire Proceedings held on
                              4119110 before Judge Leonard Davis. Court
                              Reporter: Shea Sloan,
                              shea_sloan@txed.uscourts.gov. 73 pages.

                                 NOTICE RE REDACTION OF
                                 TRANSCRIPTS: The parties have seven (7)
                                 business days to file with the Court a Notice of
                                 Intent to Request Redaction of this transcript. If
                                 no such Notice is filed, the transcript will be
                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.
                                 The policy is located on our website at
                                 wwlv.txed.uscourts.gov

                                 Transcript may be viewed at the court public
                                 terminal or purchased through the Court Reporter
                                 before the deadline for Release of Transcript
                                 Restriction. After that date it may be obtained
                                 through PACER.. Redaction Request due 611/2010.
                                 Redacted Transcript Deadline set for 6/10/2010.
                                 Release of Transcript Restriction set for 8/9/2010.
                                 (sms,) (Entered: 05/07/2010)
 05/07/2010               386 NOTICE OF FILING OF OFFICIAL



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CMIECF LIVE-Case:
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                                 TRANSCRIPT of Motion Hearing Proceedings
                                 held on 4/19/10 before Judge Leonard Davis. 58
                                 pages. Court Reporter: Shea Sloan,
                                 shea_sloan@txed. uscourts.gov.

                                 NOTICE RE REDACTION OF
                                 TRANSCRIPTS: The parties have seven (7)
                                 business days to file with the Court a Notice of
                                 Intent to Request Redaction of this transcript. If
                                 no such Notice is filed, the transcript will be
                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.
                                 The policy is located on our website at
                                 www.txed.uscourts.gov

                                 Transcript may be viewed at the court public
                                 terminal or purchased through the Court Reporter
                                 before the deadline for Release of Transcript
                                 Restriction. After that date it may be obtained
                                 through PACER.. Redaction Request due 6/1/2010.
                                 Redacted Transcript Deadline set for 6/10/2010.
                                 Release of Transcript Restriction set for 8/9/2010.
                                 (sms,) (Entered: 05/07/2010)
 05/07/2010               387 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT of Evidentiary Hearing
                              Proceedings held on 3117/10 before Judge Leonard
                              Davis. Court Reporter: Shea Sloan,
                              shea_sloan@txed.uscourts.gov. 39 pages.

                                 NOTICE RE REDACTION OF
                                 TRANSCRIPTS: The parties have seven (7)
                                 business days to file with the Court a Notice of
                                 Intent to Request Redaction of this transcript. If
                                 no such Notice is filed, the transcript will be
                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.
                                 The policy is located on our website at
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                                 Transcript may be viewed at the court public
                                 terminal or purchased through the Court Reporter
                                 before the deadline for Release of Transcript
                                 Restriction. After that date it may be obtained
                                 through PACER.. Redaction Request due 6/1/2010.
                                 Redacted Transcript Deadline set for 6/1 0/201 0.
                                 Release of Transcript Restriction set for 8/9/2010.
                                 (sms,) (Entered: 05/07/201 0)
 05/07/2010              388 Proceedings held on 3/17110 before Leonard Davis
                             - Sealed Portion of the Transcript. (sms, ) (Entered:
                             05/07/2010)
 05/13/2010              389 NOTICE OF FILING OF OFFICIAL
                             TRANSCRIPT ofProceedings held on 4/26/10
                             Morning Session before Judge Leonard Davis.
                             Court Reporter/Transcriber: Shea Sloan/J
                             Werlinger,Telephone number: 903/590-1171.
                             <P>NOTICE RE REDACTION OF
                             TRANSCRIPTS: The parties have seven (7)
                             business days to file with the Court a Notice of
                             Intent to Request Redaction of this transcript. If
                             no such Notice is filed, the transcript will be
                             made remotely electronically available to the
                             public without redaction after 90 calendar days.
                             The policy is located on our website at
                             www.txed.uscourts.gov<P> Transcript may be
                             viewed at the court public terminal or purchased
                             through the Court Reporter/Transcriber before the
                             deadline for Release of Transcript Restriction.
                             After that date it may be obtained through
                             PACER.. Redaction Request due 6/7/2010.
                             Redacted Transcript Deadline set for 6/16/201 0.
                             Release of Transcript Restriction set for 8/16/2010.
                             (Iss, ) (Entered: 05/13/201 0)
 05/13/2010              390 NOTICE OF FILING OF OFFICIAL
                             TRANSCRIPT ofProceedings held on 4/26/10
                             Afternoon Session before Judge Leonard Davis.


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                                                                    Filed: 10/08/2010



                                 Court Reporter/Transcriber: S. Sloan/J.
                                 Werlinger,Telephone number: 903/590-1171.
                                 <P>NOTICE RE REDACTION OF
                                 TRANSCRIPTS: The parties have seven (7)
                                 business days to file with the Court a Notice of
                                 Intent to Request Redaction of this transcript. If
                                 no such Notice is filed, the transcript will be
                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.
                                 The policy is located on our website at
                                 www.txed.uscourts.gov<P> Transcript may be
                                 viewed at the court public terminal or purchased
                                 through the Court Reporter/Transcriber before the
                                 deadline for Release of Transcript Restriction.
                                 After that date it may be obtained through
                                 PACER.. Redaction Request due 6/7/2010.
                                 Redacted Transcript Deadline set for 6/16/2010.
                                 Release of Transcript Restriction set for 8116/2010.
                                 (Iss,) (Entered: 05113/201 0)
 05113/2010               391 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT ofProceedings held on 4/27110
                              Morning Session before Judge Leonard Davis.
                              Court Reporter/Transcriber: Shea Sloan/J.
                              Werlinger,Telephone number: 903/590-1171.
                              <P>NOTICE RE REDACTION OF
                              TRANSCRIPTS: The parties have seven (7)
                              business days to file with the Court a Notice of
                              Intent to Request Redaction of this transcript. If
                              no such Notice is filed, the transcript will be
                              made remotely electronically available to the
                              public without redaction after 90 calendar days.
                              The policy is located on our website at
                              www.txed.uscourts.gov<P> Transcript may be
                              viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber before the
                              deadline for Release of Transcript Restriction.
                              After that date it may be obtained through


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                                 PACER.. Redaction Request due 6/7/2010.
                                 Redacted Transcript Deadline set for 6/16/2010.
                                 Release of Transcript Restriction set for 8/16/2010.
                                 (Iss, ) (Entered: 05/13/20 10)
 05/13/2010               392 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT ofProceedings held on 4/27/10
                              Afternoon Session before Judge Leonard Davis.
                              Court Reporter/Transcriber: Shea Sloan/J.
                              Werlinger,Telephone number: 903/590-1171.
                              <P>NOTICE RE REDACTION OF
                              TRANSCRIPTS: The parties have seven (7)
                              business days to file with the Court a Notice of
                              Intent to Request Redaction of this transcript. If
                              no such Notice is filed, the transcript will be
                              made remotely electronically available to the
                              public without redaction after 90 calendar days.
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                              viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber before the
                              deadline for Release of Transcript Restriction.
                              After that date it may be obtained through
                              PACER.. Redaction Request due 6/7/2010.
                              Redacted Transcript Deadline set for 6/16/2010.
                              Release of Transcript Restriction set for 8/16/2010.
                              (Iss, ) (Entered: 05/13/201 0)
 05/13/2010               393 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT of Proceedings held on 4/28110
                              Morning Session before Judge Leonard Davis.
                              Court Reporter/Transcriber: Shea Sloan/J.
                              Werlinger,Telephone number: 903/590-1171.
                              <P>NOTICE RE REDACTION OF
                              TRANSCRIPTS: The parties have seven (7)
                              business days to tile with the Court a Notice of
                              Intent to Request Redaction of this transcript. If
                              no such Notice is filed, the transcript will be



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CM/ECF LIVE-Case: 11-1009
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                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.
                                 The policy is located on our website at
                                 www.txed.uscourts.gov<P> Transcript may be
                                 viewed at the court public terminal or purchased
                                 through the Court Reporter/Transcriber before the
                                 deadline for Release of Transcript Restriction.
                                 After that date it may be obtained through
                                 PACER.. Redaction Request due 6/7/2010.
                                 Redacted Transcript Deadline set for 6/16/2010.
                                 Release of Transcript Restriction set for 8/16/2010.
                                 (Iss, ) (Entered: 05/13/201 0)
 05/13/2010               394 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT ofProceedings held on 4/29/10
                              Morning Session before Judge Leonard Davis.
                              Court Reporter/Transcriber: Shea Sloan/J.
                              Werlinger,Telephone number: 903/590-1171.

                                 NOTICE RE REDACTION OF
                                 TRANSCRIPTS: The parties have seven (7)
                                 business days to file with the Court a Notice of
                                 Intent to Request Redaction of this transcript. If
                                 no such Notice is tiled, the transcript will be
                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.
                                 The policy is located on our website at
                                 www. txed. uscourts.gov

                                 Transcript may be viewed at the court public
                                 terminal or purchased through the Court
                                 Reporter/Transcriber before the deadline for
                                 Release of Transcript Restriction. After that date it
                                 may be obtained through PACER.. Redaction
                                 Request due 6/7/2010. Redacted Transcript
                                 Deadline set for 6/16/2010. Release of Transcript
                                 Restriction set for 8/16/2010. (Iss,) (Entered:
                                 05/13/201 0)



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           Case:
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 05/13/2010               395 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT ofProceedings held on 4/30/10
                              before Judge Leonard Davis. Court
                              Reporter/Transcriber: Shea Sloan/J.
                              Werlinger,Telephone number: 903/590-1171.

                                  NOTICE RE REDACTION OF
                                  TRANSCRIPTS: The parties have seven (7)
                                  business days to file with the Court a Notice of
                                  Intent to Request Redaction of this transcript. If
                                  no such Notice is filed, the transcript will be
                                  made remotely electronically available to the
                                  public without redaction after 90 calendar days.
                                  The policy is located on our website at
                                  wwlv.txed.uscourts.gov

                                 Transcript may be viewed at the court public
                                 terminal or purchased through the Court
                                 Reporter/Transcriber before the deadline for
                                 Release of Transcript Restriction. After that date it
                                 may be obtained through PACER.. Redaction
                                 Request due 6/7/2010. Redacted Transcript
                                 Deadline set for 6116/2010. Release of Transcript
                                 Restriction set for 8/16/2010. (Iss, ) (Entered:
                                 05/13/2010)
 05/13/2010               396 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT of Trial Proceedings held on
                              4/28110 - Afternoon Session before Judge Leonard
                              Davis. Court Reporter: Shea Sloan/Judy Werlinger,
                              Telephone number: 903-590-1171.

                                 NOTICE RE REDACTION OF
                                 TRANSCRIPTS: The parties have seven (7)
                                 business days to file with the Court a Notice of
                                 Intent to Request Redaction of this transcript. If
                                 no such Notice is filed, the transcript will be
                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.


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                                 The policy is located on our website at
                                 www.txed.uscourts.gov

                                 Transcript may be viewed at the court public
                                 terminal or purchased through the Court Reporter
                                 before the deadline for Release of Transcript
                                 Restriction. After that date it may be obtained
                                 through PACER. Redaction Request due 6/7/2010.
                                 Redacted Transcript Deadline set for 6/16/2010.
                                 Release of Transcript Restriction set for 8/16/2010.
                                 (sms,) (Entered: 05/13/2010)
 05/13/2010               397 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT of Trial Proceedings held on
                              4/29/10- Afternoon Session before Judge Leonard
                              Davis. Court Reporter: Shea Sloan/Judy
                              Werlinger,Telephone number: 903-590-1171.

                                 NOTICE RE REDACTION OF
                                 TRANSCRIPTS: The parties have seven (7)
                                 business days to file with the Court a Notice of
                                 Intent to Request Redaction of this transcript. If
                                 no such Notice is filed, the transcript will be
                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.
                                 The policy is located on our ·website at
                                 www. txed. uscourts.gov

                                 Transcript may be viewed at the court public
                                 terminal or purchased through the Court Reporter
                                 before the deadline for Release of Transcript
                                 Restriction. After that date it may be obtained
                                 through PACER.. Redaction Request due 6/7/2010.
                                 Redacted Transcript Deadline set for 6/16/2010.
                                 Release of Transcript Restriction set for 8116/2010.
                                 (sms,) (Entered: 05/13/2010)
 05/19/2010               398 REPORT of Mediation by Michael Philip
                              Patterson. Mediation result: not settled(Patterson,


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                                 Michael) (Entered: 05/19/201 0)
 05/20/2010              399 NOTICE by Newegg Inc. Notice ofIntent to
                             Request Redaction (Yarbrough, Herbert) (Entered:
                             05/20/2010)
 05/20/2010              400 MOTION for Leave to File Excess Pages by
                         ~




                             Soverain Software LLC. (Attachments:# 1 Text of
                             Proposed Order)(Smith, Debra) (Entered:
                             05/20/2010)
 05/2112010              401     ORDER denying 400 Motion for Leave to File
                                 Excess Pages. Signed by Judge Leonard Davis on
                                 05/21110. cc:attys 5-21-10 (mll,) (Entered:
                                 05/2112010)
 05/24/2010              402 Opposed SEALED MOTION for Judgment as a
                             Matter ofLaw ofInfringement of the 314, 492, and
                             639 Patents and for a New Trial on 639 Patent
                             Damages by Soverain Software LLC.
                             (Attachments:# 1 Exhibit 1 -Grimes testimony,#
                             2 Exhibit 2 - P-008, # 3 Exhibit 3 - P-027 A, # 4
                             Exhibit 4 - P-038, # 5 Exhibit 5 - P-062A, # 6
                             Exhibit 6 - P-062B, # 7 Exhibit 7 - Grimes
                             demonstratives, # 8 Exhibit 8 - Pretrial hearing
                             transcript, # 9 Exhibit 9 - Tittel testimony, # 10
                             Exhibit 10- P-014, # 11 Exhibit 11 - P-015, # 12
                             Exhibit 12- P-018, # U Text ofProposed Order
                             Proposed Order)(Adamo, Kenneth) (Entered:
                             05/24/2010)
 05/24/2010              403 SEALED MOTION For an Injunction or, in the
                             Alternative, Ongoing Royalties by Soverain
                             Software LLC. (Attachments:# 1 Exhibit Exhibit
                             1, Declaration ofK. Wolanyk, # 2 Exhibit Exhibit
                             2, Declaration of J. Nawrocki,# 3 Exhibit Exhibit
                             3, Trial Testimony ofK. Wolanyk, # 4 Exhibit
                             Exhibit 4, Trial Testimony of C. Bakewell, # 5_
                             Exhibit Exhibit 5, Trial Testimony of J. Nawrocki,
                             # 6 Exhibit Exhibit 6, Ex. P-149, # 7 Exhibit


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CM/ECF LIVE-Case: 11-1009
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                                                                      Filed: 10/08/2010



                                  Exhibit 7, Ex. P-245, # 8 Exhibit Exhibit 8, Ex. P-
                                  162, # 9 Exhibit Exhibit 9, Trial Testimony ofS.
                                  Ghosh,# 10 Exhibit Exhibit 10, Trial Testimony of
                                  J. Wu, # 11 Exhibit Exhibit 11, Trial Testimony of
                                  L. Cheng,# 12 Text ofProposed Order)(Adamo,
                                  Kenneth) (Entered: 05/24/2010)
 05/24/2010               404 SEALED MOTION For Prejudgment Interest and
                              Costs, Post- Verdict Damages to Judgment, and
                              Post-Judgment Interest by Soverain Software LLC.
                              (Attachments: # 1 Exhibit Grantley v. Clear
                              Channel, Slip Op., # 2 Text of Proposed Order)
                              (Adamo, Kenneth) (Entered: 05/24/2010)
 05/24/2010               405 Agreed MOTION to Redact 389 Transcript,, by
                              Newegg Inc .. (Attachments: # 1 Exhibit A, # 2
                              Text of Proposed Order)(Yarbrough, Herbert)
                              (Entered: 05/24/2010)
 05/24/2010               406 SEALED MOTION Renewed Motion for Judgment
                              as a Matter ofLaw on Damages and Alternative
                              Motion for New Trial or Remittitur by Newegg
                              Inc .. (Attachments: # 1 Text of Proposed Order)
                              (Yarbrough, Herbert) (Entered: 05/24/2010)
 05/24/2010               407 SEALED MOTION Renewed Motions for
                              Judgment as a Matter ofLaw ofNon-Infringement
                              and Invalidity of the Asserted Claims and
                              Alternative Motions for New Trial by Newegg Inc ..
                              (Attachments: # 1 Text of Proposed Order)
                              (Yarbrough, Herbert) (Entered: 05/24/2010)
 05/25/2010               408 ORDER granting 405 Motion to Redact re 389
                          ~




                              Transcript. The original page 50 the the transcript
                              of the morning session of the proceedings held
                              before Judge Davis on 4-26-2010 is ordered sealed
                              and that the court reporter shall redact all publicly
                              available versions of the transcript of those
                              proceedings. Signed by Judge Leonard Davis on
                              05/25110. cc:attys 5-26-10 (mll, ) (Entered:


https://ecf.txed.circ5.dcn/cgi-bin/DktRpt. pl?561 04027993243-L_942 _ 0-1                   10/1/2010
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             U.S. District
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                                 05/26/2010)
 06/07/2010              409 SEALED RESPONSE to Motion re 407 SEALED
                             MOTION Renewed Motions for Judgment as a
                             Matter ofLaw ofNon-Infringement and Invalidity
                             of the Asserted Claims and Alternative Motions for
                             New Trial filed by Soverain Software LLC.
                             (Attachments:# 1 Exhibit 1 -Grimes testimony,#
                             2 Exhibit 2- Cheng testimony,# 3 Exhibit 3-
                             Trevor testimony,# 4 Exhibit 4- Tittel testimony,
                             # 5 Exhibit 5 - Shamos testimony, # 6 Exhibit 6 -
                             42610 AM transcript, # 7 Exhibit 7 - 43010
                             transcript, # 8 Exhibit 8 - P-008, # 9 Exhibit 9 - P-
                             014, # 10 Exhibit 10- P-015, # 11 Exhibit 11 - P-
                             018, # 12 Exhibit 12- P-027A, # U Exhibit 13- P-
                             038, # 14 Exhibit 14- P-062A, # 15_ Exhibit 15- P-
                             062B, # 16 Exhibit 16 - Grimes trial
                             demonstratives, # 17 Exhibit 17 - Amazon claim
                             construction order, # 18_ Exhibit 18 - P-0 10, # 19
                             Exhibit 19- P-016, # 20 Exhibit 20- P-017, # 21
                             Exhibit 21 - P-033, # 22 Exhibit 22 - Golden Hour
                             final judgment, # 23 Exhibit 23 - 4191 0 PM
                             pretrial hearing transcript)(Adamo, Kenneth)
                             (Entered: 06/07/2010)
 06/07/2010               410 SEALED RESPONSE to Motion re 406 SEALED
                              MOTION Renewed Motion for Judgment as a
                              Matter ofLaw on Damages and Alternative Motion
                              for New Trial or Remittitur filed by Soverain
                              Software LLC. (Attachments:# 1 Exhibit 4/26/10
                              AM Tr., # 2 Exhibit 4/26110 PM Tr., # 3 Exhibit
                              4/27/10 AM Tr., # 4 Exhibit 4/27110 PM Tr., # 5
                              Exhibit 4/28110 AM Tr., # 6 Exhibit 4/29110 PM
                              Tr., # 7 Exhibit 4/30110 Tr., # 8 Exhibit Nawrocki
                              Dep. Tr.)(Adamo, Kenneth) (Entered: 06/07/2010)
 06/07/2010              411 Opposed SEALED MOTION To Strike Certain
                         -

                             Evidence Submitted in Support ofSoverain 's Post-
                             Trial Motions by Newegg Inc .. (Attachments:# 1


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CM/ECF LIVE-Case:
             U.S. District
                  11-1009  Court:txed
                                Document: 1-3         Page: 114                     Page 108 of 116
                                                                    Filed: 10/08/2010



                                 Text of Proposed Order)(Yarbrough, Herbert)
                                 (Entered: 06/07/201 0)
 06/07/2010              412 SEALED RESPONSE to Motion re 403 SEALED
                             MOTION For an Injunction or, in the Alternative,
                             Ongoing Royalties filed by Newegg Inc.
                             (Attachments: #(1) Exhibit 1, #(2) Exhibit 2, #(3)
                             Exhibit 3, #(4) Exhibit 4)(Yarbrough, Herbert)
                             (Entered: 06/07/201 0)
 06/07/2010              413 SEALED RESPONSE to Motion re 402 Opposed
                             SEALED MOTION for Judgment as a Matter of
                             Law ofinfringement of the 314, 492, and 639
                             Patents and for a New Trial on 639 Patent
                             Damages filed by Newegg Inc. (Attachments: #(1)
                             Exhibit A, #(2) Exhibit B, #(3) Exhibit C, #(4)
                             Exhibit D, #(5) Exhibit E) (Yarbrough, Herbert)
                             (Entered: 06/07/201 0)
 06/07/2010              414 SEALED RESPONSE to Motion re 404 SEALED
                             MOTION For Prejudgment Interest and Costs,
                             Post-Verdict Damages to Judgment, and Post-
                             Judgment Interest filed by Newegg Inc.
                             (Yarbrough, Herbert) (Entered: 06/07/201 0)
 06/14/2010               415 Soverain's SEALED RESPONSE to Newegg's
                              Opposed SEALED MOTION (Dkt. 411) To Strike
                              Certain Evidence Submitted in Support of
                              Soverain's Post-Trial Motions filed by Soverain
                              Software LLC. (Adamo, Kenneth) (Additional
                              attachment(s) added on 6/15/2010: # 1 Text of
                              Proposed Order) (kls, ). (Entered: 06/14/201 0)
 06/14/2010              ~
                          416 Soverain's SEALED REPLY to Newegg's
                              Response 413 to Soverain's Opposed SEALED
                              MOTION 402forJudgment as a Matter ofLaw of
                              Infringement ofthe 314, 492, and 639 Patents and
                              for a New Trial on 639 Patent Damages filed by
                               Soverain Software LLC. (Attachments: (1) Exhibit
                               13 - Grimes testimony; (2) Exhibit 14 - Shamos


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             U.S. District
                  11-1009  Court:txed
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                                                                     Filed: 10/08/2010



                                 testimony; (3) Exhibit 15- 4-30-10 trial transcript)
                                 (Adamo, Kenneth) (Entered: 06/14/2010)
 06/14/2010               417 REPLY to Response to Motion re 404 SEALED
                              MOTION For Prejudgment Interest and Costs,
                              Post-Verdict Damages to Judgment, and Post-
                              Judgment Interest filed by Soverain Software LLC.
                              (Adamo, Kenneth) (Entered: 06/14/2010)
 06/14/2010               418 SEALED REPLY to Response to Motion re 403
                              SEALED MOTION For an Injunction or, in the
                              Alternative, Ongoing Royalties filed by Soverain
                              Software LLC. (Attachments: # 1 Declaration of
                              Dr. Jack Grimes, # 2 Declaration of Dr. Michael
                              Shamos)(Adamo, Kenneth) (Entered: 06/14/201 0)
 06/14/2010               419 SEALED REPLY In Support of Motion re 407
                              SEALED MOTION Renewed Motions for
                              Judgment as a Matter of Law of Non-Infringement
                              and Invalidity of the Asserted Claims and
                              Alternative Motions for New Trial filed by
                              Newegg Inc.(Attachments: # 1 Exhibit A, # 2
                              Exhibit B, # 3 Exhibit C, # 4 Exhibit D)
                              (Yarbrough, Herbert) (Entered: 06/14/201 0)
 06/14/2010               420 SEALED REPLY In Support of Motion re 406
                              SEALED MOTION Renewed Motion for
                              Judgment as a Matter of Law on Damages and
                              Alternative Motion for New Trial or Remittitur
                              filed by N ewegg Inc. (Yarbrough, Herbert)
                              (Entered: 06/14/20 10)
 06/21/2010               421    SEALED SUR-REPLY in Opposition to Renewed
                                 Motion re 402 Opposed SEALED MOTION for
                                 Judgment as a Matter ofLaw ofInfringement of
                                 the 314, 492, and 639 Patents and for a New Trial
                                 on 639 Patent Damages filed by Newegg Inc.
                                 (Yarbrough, Herbert) (Entered: 06/211201 0)
 06/21/2010               422 Plaintiff Soverain's SEALED SURREPL Y in



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             U.S. District   Document: 1-3            Page: 116     Filed: 10/08/2010
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                                 Opposition to Defendant N ewegg's Sealed Motion
                                 407 Renewed Motions for Judgment as a Matter of
                                 Law ofNon-Infringement and Invalidity ofthe
                                 Asserted Claims and Alternative Motions for New
                                 Trial filed by Soverain Software LLC.
                                 (Attachments: # 1 Exhibit 24 - Grimes testimony, #
                                 2 Exhibit 25 - Tittel testimony, # 3 Exhibit 26 - 4-
                                 29-10 PM trial transcript)(Adamo, Kenneth)
                                 (Entered: 06/21/201 0)
 06/21/2010              423 SUR-REPLY to Reply to Response to Motion re
                             406 SEALED MOTION Renewed Motion for
                             Judgment as a Matter ofLaw on Damages and
                             Alternative Motion for New Trial or Remittitur
                             filed by Soverain Software LLC. (Adamo, Kenneth)
                             (Additional attachment(s) added on 6/21/2010: # 1
                             Signature Page of Reply) (gsg, ). (Entered:
                             06/21/2010)
 06/21/2010              424 SEALED SUR-REPLY to Motion re 403 SEALED
                             MOTION For an Injunction or, in the Alternative,
                             Ongoing Royalties filed by N ewegg Inc.
                             (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3_
                             Exhibit C)(Yarbrough, Herbert) (Entered:
                             06/21/201 0)
 06/29/2010              429 6.29.10 Minute Entry (Post-Verdict Motion
                             Hrg): for proceedings held before Judge Leonard
                             Davis: Post Verdict Motion Hearing held on
                             6/29/2010. (Court Reporter Shea Sloan.) (rlf,)
                             (Entered: 07/02/201 0)
 06/30/2010              425_ ***STRIKEN PER 428 ORDER***
                              Sealed Document- Dft Supplemental Submission
                              of Evidence by Newegg. (Attachments:# 1 Exhibit
                              A)(Baldauf, Kent) Modified on 7/112010 (sm, ).
                              Modified on 7/2/2010 (mll, ). (Entered:
                              06/30/2010)
 07/0112010              426 Emergency MOTION to Strike 425 Sealed


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                                  Document by Soverain Software LLC.
                                  (Attachments: # 1 Text of Proposed Order
                                  Proposed Order)(Adamo, Kenneth) (Entered:
                                  07/011201 0)
 07/02/2010               427 RESPONSE in Opposition re 426 Emergency
                              MOTION to Strike 425 Sealed Document filed by
                              Newegg Inc .. (Baldauf, Kent) (Entered:
                              07/02/2010)
 07/02/2010               428 ORDER granting 426 Emergency Motion to Strike
                              425 Sealed Document. Signed by Judge Leonard
                              Davis on 07/02/10. cc:attys 7-02-10 (mll,)
                              (Entered: 07/02/201 0)
 07/28/2010               430 ***DOCUMENT FILED IN ERROR. PLEASE
                              DISREGARD.***
                              NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT of Post-Verdict Hearing
                              Proceedings held on 7/22/10 before Judge Leonard
                              Davis. Court Reporter Shea Sloan,
                              shea_sloan@txed.uscourts.gov. 62 pages.

                                  NOTICE RE REDACTION OF
                                  TRANSCRIPTS: The parties have seven (7)
                                  business days to file ·with the Court a Notice of
                                  Intent to Request Redaction of this transcript. If
                                  no such Notice is filed, the transcript will be
                                  made remotely electronically available to the
                                  public without redaction after 90 calendar days.
                                  The policy is located on our website at
                                  www.txed.uscourts.gov

                                  Transcript may be viewed at the court public
                                  terminal or purchased through the Court
                                  Reporter/Transcriber before the deadline for
                                  Release of Transcript Restriction. After that date it
                                  may be obtained through PACER .. Redaction
                                  Request due 8/23/2010. Redacted Transcript



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                                 Deadline set for 9/2/2010. Release of Transcript
                                 Restriction set for 10/29/2010. (sms,) (Transcript
                                 sealed by the Court.) Modified on 7/28/2010
                                 (mjc, ). (Additional attachment(s) added on
                                 7/28/2010: # 1 Notice) (mjc, ). (Entered:
                                 07/28/201 0)
 07/28/2010                      (Court only) ***Staffnotes- Deleted transcript no.
                                 430, which was inadvertently filed in this case,
                                 after consulting with David Provines. The
                                 transcript should have been filed in 6:08cv325.
                                 (mjc,) (Entered: 07/28/2010)
 07/29/2010               431 NOTICE OF FILING OF OFFICIAL
                              TRANSCRIPT of Post-Verdict Motion Hearing
                              held on 6/29/10 before Judge Leonard Davis. Court
                              Reporter: Shea Sloan,
                              shea_sloan@txed.uscourts.gov. 82 pages.

                                 NOTICE RE REDACTION OF
                                 TRANSCRIPTS: The parties have seven (7)
                                 business days to file with the Court a Notice of
                                 Intent to Request Redaction of this transcript. If
                                 no such Notice is filed, the transcript will be
                                 made remotely electronically available to the
                                 public without redaction after 90 calendar days.
                                 The policy is located on our website at
                                 wwlv. txed.uscourts.gov

                                 Transcript may be viewed at the court public
                                 terminal or purchased through the Court Reporter
                                 before the deadline for Release of Transcript
                                 Restriction. After that date it may be obtained
                                 through PACER.. Redaction Request due
                                 8/23/2010. Redacted Transcript Deadline set for
                                 9/2/2010. Release of Transcript Restriction set for
                                 11/1/2010. (sms,) (Entered: 07/29/2010)
 08/03/2010               432 Exhibit List: Soverain Software LLC's FINAL



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                                                                          'r

                                 EXHIBIT LIST OF EXHIBITS ADMITTED
                                 DURING TRIAL (4.26.1 0 - 4.30.1 0) (rlf, )
                                 (Entered: 08/03/2010)
 08/03/2010               433 Exhibit List: Newegg Inc'S FINAL EXHIBIT
                              LIST OF EXHIBITS ADMITTED DURING
                              TRIAL (4.26.1 0- 4.30.1 0) (rlf,) (Entered:
                              08/03/201 0)
 08/03/2010                      TRIAL EXHIBITS PLACED AND STORED IN
                                 CLERK'S OFFICE. (rlf,) (Entered: 08/03/2010)
 08/11/2010               434 MEMORANDUM OPINION AND ORDER
                              granting in part 402 Sealed Motion for Judgment
                              as a Matter of Law; granting in part 403 Sealed
                              Motion for Permanent Injunction or in the
                              alternative Ongoing Royalties; granting in part 404
                              Sealed Motion for prejudgment interest, post-
                              verdict damages, and post-judgment interest. All
                              other motions are DENIED. Signed by Judge
                              Leonard Davis on 08/11/10. cc:attys 8-11-10
                              (mll,) (Entered: 08/11/2010)
 08/11/2010               435 FINAL JUDGMENT. Deft Newegg Inc is found to
                              have unlawfully infringed US Patent Nos
                              5,715,314; 5,909,492; and 7,272,639. The patents-
                              in-suit are not invalid and are enforceable. The
                              Court awards damages to Soverain Software LLC
                              for Newegg's infringement of the '314 and '492
                              patents in the amount of $2,500,000. Soverain is
                              further awarded a new trial on damages for
                              Newegg's infringement of the '639 patent, to be
                              held after all appeals have been exhausted.
                              Soverain is further awarded post-verdict damages
                              of$2,900 per day from 5-01-2010 until the date of
                              this Final Judgment. Soverain is further awarded
                              prejudgment interest on the actual damages found
                              by the jury calculated at the prime rate as of the
                              date of this Final Judgment compounded monthly



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                                 through 7-31-2010 and compounded daily for the
                                 month of August, 2010. Soverain is awarded its
                                 prejudgment Costs of Court. Soverain is entitled to
                                 post-judgment interest for any time period between
                                 the entry of this Final Judgment and the date upon
                                 which Soverain receives payment from N ewegg as
                                 ordered herein. For reasons stated in the Court's
                                 contemporaneouos Memorandum Opinion and
                                 Order, Newegg is ordered for the remaining life of
                                 the '314 and '492 patents to pay Soverain an
                                 ongoing royalty of $0.15 per infringing transaction.
                                 All relief not granted in this Final Judgment is
                                 DENIED. All pending motions not previously
                                 resolved are DENIED. Signed by Judge Leonard
                                 Davis on 08/11/10. cc:attys 8-11-10(mll,)
                                 (Entered: 08/11/201 0)
 08/25/2010               437 MOTION for Bill of Costs (AGREED) by Soverain
                              Software LLC. (Attachments: # 1 Appendix, # 2
                              Affidavit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                              Exhibit, # 7 Exhibit, # 8 Exhibit)(Smith, Debra)
                              (Entered: 08/25/2010)
 08/25/2010                       ***FILED IN ERROR. Document# 437, Bill of
                                  Costs. PLEASE IGNORE. To be refiled by
                                  Attorney***

                                  (gsg) (Entered: 08/25/2010)
 08/25/2010               438 MOTION for Bill of Costs (AGREED) by Soverain
                              Software LLC. (Attachments: # 1 Appendix, # 2
                              Affidavit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                              Exhibit,# 7 Exhibit,# 8 Exhibit)(Smith, Debra)
                              (Entered: 08/25/2010)
 08/30/2010               439 BILL OF COSTS by Soverain Software LLC.
                              Costs Taxed in the amount of$66,246.87.
                              (Attachments: # 1 Affidavit)(mll, ) (Entered:
                              08/30/2010)



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 08/30/2010                      (Court only) ***Motions terminated: 438
                                 MOTION for Bill of Costs (AGREED) filed by
                                 Soverain Software LLC. TERMINATED as moot
                                 per entry of 439 Bill of Costs. (mll, ) (Entered:
                                 08/30/201 0)
 09/01/2010              440 Unopposed MOTION for Bond Newegg Inc.'s
                              Unopposed Motion to Approve Supersedeas Bond
                             for Purpose of Obtaining A Stay Pending Appeal
                             by Newegg Inc .. (Attachments: # 1 Supersedeas
                             Bond, # 2 Power of Attorney of James E. Bass, # 3
                             Text of Proposed Order)(Yarbrough, Herbert)
                             (Entered: 09/0 1/201 0)
 09/01/2010                      (Court only) ***Staffnotes*** Payment for Power
                                 of Attorney received. Receipt 6-1-23785. (gsg)
                                 (Entered: 09/01/201 0)
 09/02/2010              441     ORDER granting 440 Motion for Approval of
                                 Supersedeas Bond. Signed by Judge Leonard Davis
                                 on 09/02/10. cc:attys 9-02-10 (mll, ) (Entered:
                                 09/02/2010)
 09/07/2010         -1   442 SEALED MOTION Newegg's Renewed Post-
                         -

                             Judgment Motions for Judgment as a Matter of
                             Law ofNon-Infringement and Invalidity of the
                             Asserted Claims and Alternative Motions for New
                             Trial by Newegg Inc .. (Attachments: # 1 Text of
                             Proposed Order)(Yarbrough, Herbert) (Entered:
                             09/07/201 0)
 09/07/2010         -1   443 SEALED MOTION Newegg's Renewed Post-
                             Judgment Motion for Judgment as a Matter ofLaw
                             on Damages and Alternative Motion for New Trial
                             or Remittitur by Newegg Inc .. (Attachments:# 1
                             Text of Proposed Order)(Yarbrough, Herbert)
                             (Entered: 09/07/2010)
 09/09/2010              444 RESPONSE in Opposition re 443 SEALED
                             MOTION Newegg's Renewed Post-Judgment



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                                 Motion for Judgment as a Matter ofLaw on
                                 Damages and Alternative Motion for New Trial or
                                 Remittitur, 442 SEALED MOTION Newegg's
                                 Renewed Post-Judgment Motions for Judgment as
                                 a Matter ofLaw ofNon-Infringement and
                                 Invalidity of the Asserted Claims and Alternative
                                 Motions for New Trial filed by Soverain Software
                                 LLC. (Attachments:# 1 Exhibit 1, # 2 Text of
                                 Proposed Order)( Giannetti, Thomas) (Entered:
                                 09/09/2010)
 09/10/2010               445 NOTICE OF APPEAL - PATENT CASE as to 435
                              Judgment,,, by Newegg Inc .. Filing fee $ 455,
                              receipt number 0540-2663849. (Baldauf, Kent)
                              (Entered: 09/10/2010)
 09/22/2010               446 TRANSCRIPT REQUEST by Newegg Inc. (mll, )
                              (Entered: 09/22/2010)
 09/28/2010               447 TRANSCRIPT REQUEST by Newegg Inc. (mll,)
                              (Entered: 09/29/2010)
 10/01/2010                      Transmission ofNotice of Appeal and Docket
                                 Sheet to US Court of Appeals re 445 Notice of
                                 Appeal- PATENT CASE (mll,) (Entered:
                                 10/01/2010)




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